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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WISCONSIN




TREVOR DAVIS,
                   Plaintiff,
      -vs-                                   Case No. 21-CV-565


CHRISTOPHER ALLEN,
                   Defendant.
_____________________________________/
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      The Deposition of THOMAS J. TIDERINGTON,
      Taken Magna Remote
      Commencing at 10:00 a.m.
      Monday, July 18, 2022,
      Before Gina A. Ruggeri CSR #7805.




*All parties appearing remotely, including the court
reporter.
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 3     MESHBESHER & ASSOCIATES                                      3   Examination by Mr. Jones                        4
 4     9800 Shelard Parkway, Suite 310                              4   Examination by Mr. Student                       52
 5     Minneapolis, Michigan 55441                                  5
 6     612.332.2000                                                 6
 7     rich@stevemesbesher.com                                      7
 8         Appearing on behalf of Plaintiff.                        8
 9                                                                  9
10     ANDREW A. JONES                                             10
11     HANSEN REYNOLDS                                             11                   INDEX TO EXHIBITS
12     301 North Broadway, Suite 400                               12              (Exhibits attached to transcript)
13     Milwaukee, Wisconsin 53202                                  13
14     414.326.4952                                                14   Exhibit             Description            Page
15     ajones@hansenreynolds.com                                   15      1              Report               5
16         Appearing on behalf of Defendant.                       16      2              Appendix one             104
17                                                                 17      3              Appendix two             6
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19                                                                 19      5              Publication by the IACP      19
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 1   Remote deposition                                              1        conference sometimes the audio can be an issue. If,
 2   July 18, 2022                                                  2        for whatever reason, you don't hear one of my
 3   About 10:02 a.m.                                               3        questions, please let me know. Is that understood?
 4              COURT REPORTER: My name is Gina Ruggeri, a          4   A.    It is understood, yes.
 5       Michigan State notary public and certified shorthand       5   Q.    And I'll try and move quickly through this, but that's
 6       reporter and this deposition is being held via             6        relative. If you need a break at some point, just
 7       videoconferencing equipment. The witness, reporter,        7        please let me know.
 8       and attorneys are not in the same room. The witness        8   A.    I will. Thank you.
 9       will be sworn in remotely pursuant to agreement of all     9   Q.    So let me start. Are you able to see my screen, Mr.
10       parties. The parties stipulate that the testimony is      10        Tiderington?
11       being given as if the witness was sworn in person.        11   A.    I do. Yes, I can see it.
12              Do you solemnly swear that the testimony you.      12   Q.    So I have put up on the screen what I will mark as
13   are about to give will be the truth, the whole truth and      13        Exhibit 1 for the deposition, which I understand to be
14   nothing but the truth?                                        14        a copy of your report in this matter, and the
15              THE WITNESS: Yes.                                  15        attachments or appendices which are 34 pages in length.
16                  THOMAS J. TIDERINGTON,                         16        Do you recognize the document as your report?
17   having first been duly sworn, was examined and testified on   17   A.    I do.
18   his oath as follows:                                          18   Q.    Okay. So I put up on the screen now part of what was
19   EXAMINATION BY MR. JONES:                                     19        or what will be marked as Exhibit 1, and that is
20   Q. Good morning, Mr. Tiderington. We didn't actually meet     20        appendix one to your report. Do you recognize the
21       before we started, but my name is Andrew Jones. I'm an    21        document?
22       attorney here in Milwaukee representing the defendant     22   A.    I do.
23       in this matter, Christopher Allen. I know you've been     23   Q.    And appendix one, if I understand it correctly, that's
24       deposed before so I'll dispense with the usual            24        a copy of your CV, is that correct?
25       instructions. Because we're doing this by video           25   A.    That is correct.




                                                                                                   2 (Pages 2 to 5)
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 1   Q. And I have on the screen now what I will mark as           1   A. I also, just to let you know, I do have a copy of it
 2      Exhibit 3, which is appendix two to your report. Do        2      printed out, if you don't mind if I refer to that
 3      you recognize the document?                                3      versus on the screen?
 4   A. Yes, I do.                                                 4   Q. No. Understood. That was going to be my next
 5   Q. And appendix two, is that a copy of your fee schedule      5      question, whether you had a copy in front of you. By
 6      for your work in this case and then also a list of your    6      all means, either refer to the printed copy if that's
 7      prior testimony experience as an expert?                   7      easier or if you want me to move within the document on
 8   A. That's correct.                                            8      the screen, that's also fine.
 9   Q. And then lastly, I'll show you what I'll mark as           9   A. Okay.
10      Exhibit 4 for the deposition, which is appendix three     10   Q. The report that you prepared in this matter, Exhibit 1,
11      to your report. Do you recognize the document?            11      does that express all of your opinions as an expert
12   A. Yes, I do.                                                12      witness at this time in this case?
13   Q. Is appendix three, what I will mark as Exhibit 4, a       13   A. It does.
14      list of the materials you reviewed in the course of       14   Q. And is it a complete and accurate account of those
15      your work as an expert in this matter?                    15      opinions?
16   A. That's correct.                                           16   A. Yes, it is.
17   Q. And those are all documents you've reviewed in            17   Q. Exhibit or appendix three, Exhibit 4 for the
18      preparing your report, is that correct?                   18      deposition, is that a complete list of all of the
19   A. Yes, it is.                                               19      materials that you reviewed in preparing your report?
20   Q. And in reaching the opinions that you have as an expert   20   A. Yes, it is.
21      witness in this case?                                     21   Q. It's noted as being current as of June 11th of 2022.
22   A. That is correct.                                          22      Have you reviewed any materials in connection with your
23   Q. I'll go back to Exhibit 1. And, obviously, it's 34        23      work in this case, since June 11th?
24      pages long so if at any point you want me to move         24   A. Yes. There's been some additional information provided
25      within the document just let me know, okay?               25      such as some case studies or some case law.


                                                     Page 8                                                              Page 9
 1             MR. STUDENT: And I'm going to put an                1        are there any materials that you reviewed since then
 2      objection on the record to the extent we might be          2        that identified or provided you with any facts relating
 3      talking about communications or materials that are         3        to the events at issue in this lawsuit?
 4      protected under Rule 26 as either attorney/expert          4   A.    No.
 5      communications, expert work product or attorney work       5   Q.    In your work in this case, did you review any
 6      product.                                                   6        photographs relating to the scene of the events at
 7   BY MR. JONES:                                                 7        issue in this case?
 8   Q. Are there any other materials, beyond those that are       8   A.    I did, yes.
 9      listed in appendix three, to your report that you have     9   Q.    And what did those photographs relate to?
10      reviewed since June 11th --                               10   A.    The incident involving the apprehension of Mr. Davis
11             MR. STUDENT: Same objection.                       11        and the injuries that he sustained.
12             MR. JONES: I'm sorry. I'm not done quite           12   Q.    So aside from photographs of injuries to Mr. Davis,
13      done with the question, Rich.                             13        what photographs did you review?
14             MR. STUDENT: I'm sorry.                            14   A.    I believe those were the photographs that I reviewed.
15   BY MR. JONES:                                                15   Q.    Did you review any photographs of the trailer or the
16   Q. That identify any facts in connection with the            16        inside of the trailer?
17      underlying events?                                        17   A.    I know I reviewed the video that depicts the inside of
18   A. Just as a point of clarification, the items listed in     18        the trailer. I don't know if there were still photos.
19      appendix three are the items that were provided to me     19        If there were still photos, I would have reviewed
20      by counsel. If you look at my report on page four         20        those.
21      there's some additional documents that I referenced in    21   Q.    But as we're talking here this morning, do you
22      there that I considered in reaching my opinions.          22        specifically recall reviewing any photographs of the
23   Q. And going back to the fact that there are some            23        inside of the trailer or still shots of the inside of
24      materials that you have reviewed in connection with       24        the trailer?
25      your work since the date of appendix three, June 11th,    25   A.    I don't know. I would have to go and look. If we want




                                                                                                  3 (Pages 6 to 9)
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 1        to do that on a break, I could go back. I don't know         1        have. I don't recall if she proofread this or not, but
 2        if it was video or still photos. I know it was video         2        if she did it was certainly just for formatting and
 3        for sure, and I believe there may have been still            3        sentence structure.
 4        photos as well, but I can't be certain unless I go back      4   Q.     I have someone else proofread sometimes. I understand.
 5        and look at the documents that I reviewed.                   5        Did your wife provide any input or assistance in
 6   Q.     I'm going to ask you some questions about your process     6        connection with your work in this matter, aside from
 7        as an expert witness. In reviewing the materials that        7        simply proofing your report for grammar, syntax, et
 8        are listed in appendix three to your report or as you        8        cetera?
 9        note the various publications that you referred to in        9   A.     She did not.
10        your report, did you keep notes?                            10   Q.     I want to ask you about a particular paragraph in your
11   A.     No, I don't -- the only notes I have were basically       11        report. On page three, the last paragraph above the
12        communications between myself and Mr. Student.              12        introduction header starts, opinions that I present in
13   Q.     And by that do you mean e-mails or do you mean notes of   13        this report?
14        conversations between the two of you?                       14   A.     Yes.
15   A.     Notes of conversation --                                  15   Q.     You write in that report or rather in that sentence,
16   Q.     Okay.                                                     16        use of specific/similar legal terminology is not
17   A.     -- between the two of us.                                 17        intended to draw legal conclusions or to subvert the
18   Q.     And do you have any notes relating to your work as an     18        function of the Court or to inappropriately influence
19        expert in this matter, outside of your notes, of those      19        triers of the fact, correct?
20        communications?                                             20   A.     That is correct.
21   A.     No, I don't.                                              21   Q.     And you understand, of course, that the ultimate issue
22   Q.     Was anyone, other than you, involved in preparing your    22        or question in this case is whether or not Deputy Allen
23        report in this matter?                                      23        used excessive force in deploying his canine, correct?
24   A.     No. As a point of clarification on the last question,     24   A.     Well, whether the force was reasonable, yes.
25        other than my wife who's the proofreader. She may           25   Q.     And so, I guess, to put it differently then whether or


                                                       Page 12                                                              Page 13
 1      not the force used by Deputy Allen was objectively             1      in the field of law enforcement for over 44 years on
 2      reasonable under all of the circumstances, yes?                2      how a other perhaps well trained officer would have
 3   A. I would agree with that.                                       3      reacted in a similar situation. So I don't mean it --
 4   Q. And so when you offer the opinion in your report that          4      I mean it comparing the activities of what other police
 5      the force used by Deputy Allen was excessive or                5      officers would have done faced with the same
 6      unreasonable are you intending, when you use those             6      circumstances.
 7      terms, for them to be coterminous with the fourth              7   Q. You do not mean to say when you offer the opinion that
 8      amended?                                                       8      the force used by Deputy Allen was not reasonable and
 9             MR. STUDENT: Object on form grounds. Go                 9      was excessive that it violated the fourth amendment?
10      ahead and answer.                                             10             MR. STUDENT: I'm going to object to form and
11   A. I'm not sure I understand the question.                       11      to the extent it mischaracterizes the report or his
12   BY MR. JONES:                                                    12      testimony. You can go ahead and answer.
13   Q. Well, you say in your report that you do not intend to        13   A. Yeah, I'm not going to -- I don't think I want to get
14      offer legal conclusions or to interfere with the rule         14      into a debate about the fourth amendment. I think I
15      of the Court or the trier of fact, correct?                   15      want to focus on the police practices and whether or
16   A. That is correct.                                              16      not it was appropriate use of force.
17   Q. So when you use or offer the opinion in your report           17   Q. So just to be very, very clear, you are not offering
18      that the force used by Deputy Allen was not reasonable        18      the opinion that the force used was excessive or not
19      and was excessive do you mean that or do you mean to          19      reasonable under the fourth amendment?
20      say with those terms that the force used was not              20             MR. STUDENT: Same objection.
21      reasonable and excessive under the fourth amended or do       21   A. Under the Graham standard is what I compared it to.
22      you mean it in some other way?                                22   BY MR. JONES:
23   A. I think I mean it in some other way.                          23   Q. You're saying that the force used was not reasonable or
24   Q. And how do you mean it then?                                  24      was excessive under the standard articulated by the
25   A. I mean it as police practices practice expert and being       25      Supreme Court in Graham -v- Connor?




                                                                                                  4 (Pages 10 to 13)
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                                                   Page 14                                                           Page 15
 1   A. That's correct.                                            1      question has been asked and answered, and to the extent
 2   Q. So then how is it that that's different than saying        2      it mischaracterizes his testimony, and the disclaimer
 3      that the force used was excessive or not reasonable        3      that's in his report that you referenced, counsel.
 4      under the fourth amount?                                   4   BY MR. JONES:
 5   A. I'm not saying that. I think you asked me when I           5   Q. Go ahead and answer, sir.
 6      prepared the report what I was comparing it to, and I      6   A. I do believe I answered. I don't know how else I can
 7      was comparing it to police practices or my                 7      answer, other than what I have already provided.
 8      understanding of what is reasonable based on what other    8   Q. When you offer the opinion that the force used by
 9      police officers would have done faced with the same set    9      Deputy Allen wasn't consistent, in your view, with the
10      of facts and circumstances.                               10      force that a reasonable officer would have used under
11   Q. I just want to understand whether or not you're           11      the same circumstances am I correct in understanding
12      offering an opinion that the force used by Deputy Allen   12      that you are offering the opinion that the force was
13      was excessive or unreasonable under the fourth            13      inconsistent with the standard articulated in Graham?
14      amendment. Are you or are you not offering that           14   A. I am. That's correct.
15      opinion?                                                  15   Q. Is there any difference between your view of what
16   A. I think I answered that. I believe that I compared it     16      typical or normal police practices would have dictated
17      to the Graham standard, and that would be my answer on    17      in this situation relative to the use of the canine and
18      that.                                                     18      what you understand the Graham standard to be?
19   Q. The Graham standard articulates the level of force        19              MR. STUDENT: Object as to form. Go ahead
20      that's reasonable under the fourth amendment. How is      20      and answer.
21      it that you are not offering the opinion that the force   21   A. Yes, I believe there's a difference between what a
22      used here was excessive or not reasonable under the       22      reasonable officer would have done and what the officer
23      fourth amendment?                                         23      did in this particular case.
24              MR. STUDENT: I'm going to object on grounds       24   BY MR. JONES:
25      of form, and that this is argumentative, and the          25   Q. I think my question may not have been clear. I

                                                   Page 16                                                           Page 17
 1      understood you in a prior answer to say that the           1   BY MR. JONES:
 2      opinions you're offering in this case relate to what       2   Q. And when you talk about what normal or typical police
 3      typical or normal police practices would have dictated     3      practices would dictate here you're essentially that's
 4      in terms of the use of force in this situation. Did I      4      a different way of saying what a reasonable police
 5      understand you correctly?                                  5      officer would do in these same circumstances as
 6   A. That's correct.                                            6      contemplated by the Graham standard?
 7   Q. And so when you're articulating in your opinions what      7   A. I -- I don't think so. I mean I think it's the same
 8      normal or typical police practices would have dictated     8      thing. When you say normal or typical I'm not sure
 9      in this situation is there any difference, in your         9      what you mean by that, but I think the terminology is
10      mind, between those normal or typical police practices    10      what would a reasonable officer have done.
11      and what the Graham standard would dictate in this        11   Q. I want to ask you about some of the publications that
12      situation?                                                12      you mentioned in your report.
13             MR. STUDENT: Object to form.                       13   A. Okay.
14   A. I'm not sure I fully understand the question.             14   Q. Starting at page four.
15   BY MR. JONES:                                                15   A. Correct.
16   Q. Fair enough. I'm trying to understand is there any        16   Q. You talk on page four about publications that the
17      difference between what you believe typical or normal     17      International Association of Chiefs of Police, the
18      police practices would dictate and what you understand    18      IACP, through its national law enforcement policy
19      the Graham standard would dictate in this situation, is   19      center, have published and that you referred to or
20      there any difference between those?                       20      relied on in forming your opinions, yes?
21             MR. STUDENT: Same objection.                       21   A. That is correct.
22   A. Well, it's the reasonableness of it, not necessarily      22   Q. And at the bottom of page four there are six bullet
23      what a normal or typical officer would have done. It's    23      pointed subjects that I understand you to be saying
24      what a reasonable officer would have done faced with      24      that the IACP has published on and that you referred to
25      the same set of facts and circumstances.                  25      or relied on in forming your opinions, yes?




                                                                                            5 (Pages 14 to 17)
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 1   A. That is correct.                                              1   A. I don't know offhand. I would have to look at that and
 2   Q. There is -- there's specific reference later on in your       2      get back with you. I could make a note and let you
 3      report to an IACP model policy about canines, correct?        3      know, if we take a break.
 4   A. I believe so, yes.                                            4   Q. I'm going to share my screen again. Can you see the
 5   Q. And there is also specific reference in your report to        5      screen?
 6      a use of force white paper put out by the IACP that you       6   A. I can.
 7      referred to or relied on, correct?                            7            MR. STUDENT: Again, I think my screen is
 8   A. That is correct.                                              8      frozen up. Can you guys hear me?
 9   Q. I didn't see other specific references to other IACP          9            THE WITNESS: I can hear you.
10      publications so my question is: As it relates to those       10            MR. JONES: Are you good, Rich? Can you hear
11      six bullet point subjects at the bottom of page four,        11      us, Rich? Can you still see and hear us?
12      were there any other particular or specific IACP             12            MR. STUDENT: Yeah. Yeah. I'm good. Sorry.
13      publications that you relied on or referred to?              13   BY MR. JONES:
14   A. No.                                                          14   Q. So I've got up what I will mark as Exhibit 5, Mr.
15   Q. On page 15 of your report you refer to a model policy        15      Tiderington, which I understand to be a publication by
16      from the IACP about canine use, yes, towards the bottom      16      the IACP on patrol canine from May of 2015, which I
17      of page 15?                                                  17      also understand to include a model policy and a concept
18   A. Yes.                                                         18      and issues paper. Are you familiar with this document?
19   Q. Do you know what year that policy was from?                  19   A. I am.
20   A. Are you talking about the bark and hold, the second          20   Q. Is that or does this document, Exhibit 5, include the
21      paragraph from the bottom?                                   21      model policy that you were referring to in your report?
22   Q. In that paragraph you state, IACP's model policy             22      If you need me to scroll through it, I'm happy to.
23      regarding canine unit utilization, and then you go on        23   A. It does, yes.
24      to describe it. And I'm asking what year that model          24   Q. In footnote 11 of your report you refer to a guidance
25      policy is from?                                              25      document put out by the Police Executive Research

                                                      Page 20                                                              Page 21
 1        Foundation, if I've got the name right? Do you see          1        15 of your report you referred to a paper authored by a
 2        that reference?                                             2        Charlie Mesloh, yes?
 3   A.    I do. PERF, yes.                                           3   A.    That is correct, yes.
 4   Q.    I'm still showing my screen. I put up what I'll mark       4   Q.    And I'll put on the screen what I'll mark as Exhibit 8,
 5        as Exhibit 6, which is a copy of a document titled          5        a September 2006 article authored by Charlie Mesloh.
 6        guidance on policies and practices for patrol canines       6        Do you see what I have on the screen?
 7        from PERF. Do you recognize that document?                  7   A.    I do.
 8   A.    I do.                                                      8   Q.    And is that the same article that you were referring to
 9   Q.    And is that what you were referring to in footnote 11      9        in your report?
10        to your report?                                            10   A.    It is.
11   A.    Yes, it is.                                               11   Q.    Were there any other articles or publications relating
12   Q.    And that's the same document you were referring to into   12        to the use of canines in law enforcement that you
13        the in footnote 17 of your report?                         13        relied or on or referred to in forming your opinions
14   A.    Yes.                                                      14        and drafting your report, other than those that are
15   Q.    In footnote 16 you referred to a US Department of         15        specifically listed in your report?
16        Justice publication from 2001, correct?                    16   A.    No. Just the ones listed in my report.
17   A.    I did.                                                    17   Q.    Outside of the articles, publications that you refer to
18   Q.    I put on the screen what I'll mark as Exhibit 7, a DMJ    18        in your report, are there any other publications
19        publication from January 2001, Principals for Promoting    19        relating to the use of canines in law enforcement that
20        Police Integrity. Do you see that on the screen?           20        you consider to be authoritative on the subject?
21   A.    I do.                                                     21   A.    No. Other than what I relied upon.
22   Q.    Is that the document you were referring to in footnote    22   Q.    And those publications that you did refer to in your
23        16 of your report?                                         23        report, do you consider them to be authoritative on the
24   A.    It is, yes.                                               24        subject of the use of canines in law enforcement?
25   Q.    And last one of these on or rather on footnotes 14 and    25   A.    For the most part, yes.




                                                                                                 6 (Pages 18 to 21)
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 1   Q. What do you mean by for the most part?                     1   Q. Okay. And is that a point or a reference that you
 2   A. Well, I may not necessarily agree with everything          2      agree with?
 3      that's in every word of every document. I've               3   A. It is.
 4      identified the areas that I do agree with and included     4   Q. And so can you explain to me how that reference ties
 5      in my report.                                              5      into this case and your opinions in this case?
 6   Q. Having reviewed those articles and other publications      6   A. Sure. Essentially, when a dog is biting a person, and
 7      in your work in this file or in this matter, are there     7      I had experience in working with canines during
 8      any portions of those articles or publications that you    8      training exercises, certainly individuals react to a
 9      specifically disagree with?                                9      vicious dog coming towards them. And often times their
10              MR. STUDENT: Object to form.                      10      reaction causes the canine to become even more
11   A. I can't think offhand without reading every word, but     11      aggressive. And that's essentially what I was speaking
12      for the most part I agree with the concept of the         12      to in that paragraph.
13      documents that I've listed in my report.                  13   Q. The fact that that -- the fact that that can occur, how
14   BY MR. JONES:                                                14      did that factor in or relate to your opinions in this
15   Q. I wanted to ask you about in footnote five of your        15      case, if at all?
16      report you refer to a bar review article from the         16   A. Well, certainly it factored into the -- the Officer
17      University of Pittsburgh law review. Do you recall        17      Allen was directing Davis to do things that were either
18      that?                                                     18      from a practical standpoint impossible for him to do or
19   A. I do, yes.                                                19      not consistent with somebody that was being attacked by
20   Q. And the tech that footnote ties into, to my               20      a dog, you know, stop fighting my dog. When somebody
21      understanding, was an observation you were making         21      is biting you a normal reaction is to try to get the
22      relating to the fear that a canine, particularly the      22      dog to stop biting you. It doesn't necessarily mean
23      canine that's biting a subject, will induce in that       23      he's fighting the dog. It means he's reacting to it in
24      subject, yes?                                             24      a way that somebody that's afraid of being bitten is
25   A. That's what the reference is, yes.                        25      going to react.


                                                   Page 24                                                              Page 25
 1   Q. The point of that observation or that reference in that    1        hand the dog is biting him and what do you expect a
 2      article was relevant and factored into your opinions in    2        person to do that's being bitten by a dog? It's a
 3      this case in the sense that it explains potentially Mr.    3        rhetorical question. I know you're not here to answer
 4      Davis' response to the fact that he was being bitten?      4        my questions, of course.
 5   A. Partially. It also explains how, in my experience, how     5   Q.    Are there any other ways that that point or observation
 6      people react when they're being attacked by a police       6        made in the Pittsburgh law article was relative to your
 7      canine.                                                    7        opinions in this case?
 8   Q. Is there any other relevance or importance to that         8   A.    There may have been. I would have to read the article
 9      observation or point in connection with your opinions      9        again, but that was essentially the importance of that
10      in this case, other than what you've described for me?    10        article or that section of the article is relevant to
11              MR. STUDENT: Object to form. You can              11        my opinion.
12      answer.                                                   12   Q.    I want to ask some questions about your understanding
13   A. It's relevant to my opinions throughout the report,       13        of the facts or the events underlying this lawsuit.
14      yes.                                                      14   A.    Okay.
15   BY MR. JONES:                                                15   Q.    Am I correct that this set of events began with an
16   Q. Well I'm simply trying to understand how. So if there     16        anonymous call to the Barron County dispatch about the
17      are other ways that it's relevant could you explain       17        location of Mr. Davis?
18      those to me?                                              18   A.    That is my understanding, yes.
19   A. Well, I guess, the example of when Koda was placed up     19   Q.    And this was a call that was shortly before midnight on
20      in the attic by another dog handler it attacked an        20        that night, correct?
21      individual that was hiding in the attic, and that         21   A.    I believe so, yes.
22      officer was telling him to stop moving around, to hold    22   Q.    And the call essentially reported that Mr. Davis was at
23      still, because the dog's trained to attack based on       23        or on this property connected with David Haseltine,
24      movement. And on the one hand he's directing Koda or      24        correct?
25      directing the suspect not to move, but on the other       25   A.    That is correct.




                                                                                              7 (Pages 22 to 25)
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                                                    Page 26                                                           Page 27
 1   Q. And at the time Mr. Davis was wanted on several            1      arrest warrants were included serious felonies?
 2      outstanding arrest warrants, correct?                      2   A. I would -- yes, they were felonies. Serious, I guess
 3   A. That's my understanding, yes.                              3      you would have to -- each department may define it
 4   Q. What were those warrants for, if you know?                 4      differently, but certainly in my definition it would be
 5   A. I don't know the details. It appeared one was a felony     5      serious felonies, yes.
 6      warrant for perhaps armed robbery, I believe, according    6   Q. And would you agree that those arrest warrants included
 7      to the police report. And the other matters perhaps it     7      charges among them that were violent felonies?
 8      appears to be some type of a domestic. Again, I did        8   A. It appears so, yes.
 9      not have information about the details of what the         9   Q. When the officers arrived at the property Mr. Davis was
10      warrants were for, but according to the police reports    10      in a car in the driveway to the property with the
11      that was my takeaway from that.                           11      engine running, correct?
12   Q. Well, do you have any reason to dispute that one of the   12   A. That's my understanding, yes.
13      arrest warrants was for felony armed robbery?             13   Q. And when the officers arrived one of the squad cars
14   A. That's what I believe it was for, yes.                    14      pulled into the driveway, correct?
15   Q. Okay. And do you have any reason to dispute that the      15   A. I believe so. I don't know exactly, but according --
16      second of the three warrants was for felony possession    16      that sounds correct, yes.
17      of methamphetamine?                                       17   Q. And when that happened Mr. Davis responded by getting
18   A. That's what was indicated in the police report.           18      out of the car and running into the trailer on the
19   Q. Okay. And the last one, do you have any reason to         19      property, correct?
20      dispute that it was for charges of felony strangulation   20   A. Apparently, yes.
21      and suffocation, felony false imprisonment, felony        21   Q. And when he did that he did it because he knew the
22      aggravated battery, disorderly conduct, and multiple      22      officers had arrived at the property, correct?
23      counts of felony bail jumping?                            23   A. I have no way of knowing what he knew at the time.
24   A. I don't have any reason to dispute that.                  24   Q. Well, you read his deposition, correct?
25   Q. Would you agree that those charges relating to those      25   A. I did. I don't recall that section, but --


                                                    Page 28                                                           Page 29
 1   Q. Okay. Would you --                                         1      voices talking in the trailer?
 2   A. -- I wouldn't argue the fact with you.                     2   A. I'm not sure if I remember that, but I -- perhaps, yes.
 3   Q. Okay. I mean he ran because he didn't want to get          3   Q. Would you have any reason to dispute that that was the
 4      caught by the police, correct?                             4      case?
 5   A. That makes sense. Again, I don't -- I can't say            5   A. No.
 6      exactly what he was thinking, but that would be a          6   Q. And then several of the officers had an interaction
 7      conclusion that I would think is reasonable.               7      with David Haseltine at the front door to the trailer,
 8   Q. A reasonable officer at the scene would or might           8      correct?
 9      conclude that Mr. Davis was running from them because      9   A. That is my understanding, yes.
10      he did not want to get caught by them, correct?           10   Q. And at first Mr. Haseltine was in the trailer behind
11   A. Certainly. Yes.                                           11      the door, that is on the other side of the front door
12   Q. And is it your understanding that at least one of the     12      of the trailer, correct?
13      officers had called out to him as he was running for      13   A. I believe so.
14      him to stop, yes?                                         14   Q. And then after some exchange of words he came out onto
15   A. I believe so. According to the police reports, yes.       15      the front porch, correct?
16   Q. So Mr. Davis' first move when the officers arrived was    16   A. I believe so.
17      to flee from them, correct?                               17   Q. And at first Mr. Haseltine told them, that is he told
18   A. Apparently, yes.                                          18      the officers that he didn't know Trevor Davis, correct?
19   Q. And when he fled, again, he went into a trailer on the    19   A. I believe that's what he told them, that's correct.
20      property and into a back room in that trailer, correct    20   Q. And that was a lie, correct?
21      that trailer?                                             21   A. Apparently, yes.
22   A. That's my understanding, yes.                             22   Q. Mr. Haseltine told the officers that there was no one
23   Q. And is it your understanding that the officers, when      23      other than him in the trailer, correct?
24      they approached the area outside that trailer, at least   24   A. I believe that's what he told the officers, yes.
25      initially they could hear two voices talking, two male    25   Q. That was also a lie?




                                                                                            8 (Pages 26 to 29)
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 1   A. It would have been.                                        1      Davis, correct?
 2   Q. Mr. Haseltine then told the officers, after                2   A. Correct.
 3      acknowledging that he did know Trevor Davis, he told       3   Q. Mr. Haseltine was obstructing their search for Mr.
 4      them that Mr. Davis had been there but he was going,       4      Davis, correct?
 5      yes?                                                       5   A. It appears so, yes.
 6   A. I believe that's what he told them, yes.                   6   Q. And a reasonable officer well could have concluded
 7   Q. And that was a lie, correct?                               7      that, yes?
 8   A. It would have been, yes.                                   8   A. Correct.
 9   Q. He told them, that is Mr. Haseltine, told the officers     9   Q. And the officers knew or learned from dispatch that Mr.
10      he did not know where Mr. Davis had gone, correct?        10      Haseltine was on probation, yes?
11   A. I believe that's what told him, correct.                  11   A. According to the police report, that was correct.
12   Q. That was a lie?                                           12   Q. Do you have any reason to dispute that?
13   A. It would have been.                                       13   A. No.
14   Q. And Mr. Haseltine next told them that Mr. Davis           14   Q. And what was the probation for, if you know?
15      probably had gone into the woods, yes?                    15   A. I don't know.
16   A. I believe that's what he told them, yes.                  16   Q. Any reason to dispute that it was for a drug offense?
17   Q. Also a lie, correct?                                      17   A. I have no reason to dispute that.
18   A. Correct.                                                  18   Q. Would that have been relevant to an officer standing
19   Q. Mr. Haseltine was covering for Mr. Davis, yes?            19      there outside Mr. Haseltine's trailer looking for Mr.
20            MR. STUDENT: Object to form.                        20      Davis, the fact that the trailer was owned or occupied
21   A. It appears that that's what he was doing, that's          21      by someone on probation for a drug offense?
22      correct.                                                  22   A. It would or should have been part of the overall
23   BY MR. JONES:                                                23      assessment of the situation, correct.
24   Q. A reasonable police officer at the scene could well       24   Q. And what reasonable inferences could an officer
25      have concluded that Mr. Haseltine was covering for Mr.    25      standing there looking for Mr. Davis draw from that


                                                   Page 32                                                            Page 33
 1      piece of information?                                      1   BY MR. JONES:
 2             MR. STUDENT: Object to form. You can                2   Q. And at some point Deputy Allen moved to the front of
 3      answer.                                                    3      the trailer, the front door I mean, and he issued
 4   A. The fact that Haseltine was on probation?                  4      several canine warnings, correct?
 5   BY MR. JONES:                                                 5   A. He did.
 6   Q. For a drug offense.                                        6   Q. And that is to say that he yelled into the trailer that
 7   A. Well, there's a number of things that they could have      7      he had a police canine and that he would release the
 8      concluded that perhaps he was selling drugs from the       8      canine into the trailer if whoever was in the trailer
 9      trailer, he was associating with other drug                9      didn't come out, correct?
10      traffickers, drug dealers, a number of factors that       10   A. That's correct.
11      they could have considered.                               11   Q. And you watched or listened to the body camera
12   Q. In your experience, which I understand to be roughly 40   12      recording, yes?
13      years in law enforcement, someone selling drugs and       13   A. I did.
14      interacting with others in the drug trade, are those      14   Q. So you -- I paraphrase, but you heard the actual words
15      individuals often armed?                                  15      used by Deputy Allen, correct?
16   A. They could be, yes.                                       16   A. Yes.
17   Q. Could that have been a reasonable concern for an          17   Q. And the warning he gave, was that consistent with how
18      officer standing in front of Mr. Haseltine's trailer      18      officers are trained to give canine warnings?
19      knowing that he was on probation for a drug offense?      19   A. It is consistent, yes.
20             MR. STUDENT: Object to form.                       20   Q. And he gave that warning at least three times, correct?
21   BY MR. JONES:                                                21   A. I believe it was three times, yes.
22   Q. Either that he was armed or that there were weapons in    22   Q. And is it your understanding that Mr. Davis, where he
23      his trailer?                                              23      was in the trailer, heard those warnings?
24             MR. STUDENT: Same objection.                       24   A. I don't know if he heard them or not.
25   A. It would be a reasonable conclusion.                      25   Q. If --




                                                                                            9 (Pages 30 to 33)
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 1   A. I'm assuming he heard them though.                            1      himself, yes?
 2   Q. Your expectation would be, given the volume, the layout       2   A. That's correct.
 3      of the trailer and the other circumstances, that he           3   Q. And when Mr. Davis heard those warnings he did not come
 4      would have heard those warnings?                              4      out of the trailer?
 5   A. That's correct.                                               5   A. That's correct.
 6   Q. And your understanding would be that Mr. Davis knew the       6   Q. He did not show himself?
 7      officers were still on the property, yes?                     7   A. That is correct.
 8             MR. STUDENT: Object to form. You can                   8   Q. He did not announce himself?
 9      answer.                                                       9   A. That is correct.
10   A. It seems that he would have known that, that's correct.      10   Q. So up until that point in time he was still trying to
11   BY MR. JONES:                                                   11      evade the officers, correct?
12   Q. And he knew the officers were still looking for him,         12   A. He was hiding from the officers apparently, yes.
13      yes?                                                         13   Q. And hiding is, to put it differently, evading, yes?
14             MR. STUDENT: Same objection.                          14   A. Passively evading, I guess, yes. I don't want to split
15   A. I'm assuming that he did, yes.                               15      hairs with you, but yes.
16   BY MR. JONES:                                                   16   Q. He was not being compliant?
17   Q. I mean, again, I'm asking these questions with the           17   A. That's correct.
18      understanding that you reviewed his deposition               18   Q. And he was not attempting to surrender?
19      transcript as part of your work in the case?                 19   A. Initially that is correct, yes.
20   A. I did.                                                       20   Q. And would you agree that he was not passively resisting
21   Q. And Mr. Davis would have known that he was the only          21      the officers at that time?
22      person in the trailer, yes?                                  22   A. Well, I believe hiding is passive resistance.
23   A. That's correct.                                              23   Q. Why do you categorize hiding as passive resistance?
24   Q. And based on the warnings he knew that a dog was going       24   A. Well, it's not active resistance where he's running,
25      to be released into the trailer if he did not show           25      jumping over fences, high speed chase. He's simply


                                                      Page 36                                                            Page 37
 1        hiding from the officers and hoping that he's not going     1      believe?
 2        to be found.                                                2   A. It would have been, yes.
 3   Q.    He had actively run from the officers, correct?            3   Q. And at least one of those having occurred through the
 4   A.    That's correct.                                            4      use of a weapon, correct?
 5   Q.    And would you characterize that as passive resistance?     5   A. Apparently, yes.
 6   A.    Well, in every scenario things change minute by minute     6   Q. Would it have been reasonable for an officer at the
 7        or second by second. At the point that he decided to        7      scene, at that point in time, to believe that Davis was
 8        hide from the officers I believe that was a form of         8      potentially dangerous, either to them or to others?
 9        passive resistance hoping that the officers were not        9   A. Yes.
10        going to find him.                                         10   Q. Would it have been reasonable for an officer on the
11   Q.    What is your definition of passive resistance?            11      scene at that point in time, again, when the dog was
12   A.    Just that, that he's not making an overt attempt to get   12      released into the trailer, to believe that Davis was
13        away from the officers, he's not jumping over fences,      13      potentially armed?
14        he's not in a high speed chase.                            14   A. That's correct.
15   Q.    That's the point in time when Deputy Allen released the   15   Q. And would it have been reasonable for an officer on the
16        dog in the trailer, yes?                                   16      scene, at that point in time, to be concerned that
17   A.    After the announcement, yes, he apparently released the   17      there might be weapons in the trailer?
18        dog, yes.                                                  18   A. Correct.
19   Q.    And at that point in time, that is the point in time      19   Q. Would it have been reasonable for an officer on the
20        when the dog is released in the trailer, would it have     20      scene, at that point in time, to believe that Davis
21        been reasonable for an officer on the scene to believe     21      knew they were there and was trying to flee or evade
22        that Davis was suspected of having committed serious       22      capture?
23        and/or violent felonies?                                   23   A. I don't believe he was fleeing. I don't believe he had
24   A.    That's correct.                                           24      any way to flee. When we use the term flee that's
25   Q.    That would have been reasonable for an officer to         25      means he was going to be able to run away. I don't




                                                                                             10 (Pages 34 to 37)
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 1        believe he had that ability. Certainly, he was hiding        1        different perspective, was there anything, as you
 2        and he was hoping that they were not going it find him       2        understand the facts, that would have suggested
 3        is the conclusion that I drew from the police reports.       3        affirmatively to an officer on the scene that there was
 4   Q.     So would it have been reasonable for an officer at the     4        more than one person, that one being person being
 5        scene to believe at that point that Davis knew they          5        Davis, in the trailer at the moment the dog was
 6        were there and was trying to evade capture?                  6        released into the trailer?
 7   A.     Yes.                                                       7   A.     Affirmatively, no, but using your scenario of a known
 8   Q.     Given all of the circumstances, including what             8        drug house certainly officers, reasonable officers,
 9        Haseltine had told the officer, the warnings that            9        would have concluded that there could possibly have
10        Officer Allen had given at the doorstep, the size of        10        been someone else in there, could have been a child in
11        the trailer, and everything else that had occurred up       11        there, could have been anybody else in there. I'm not
12        until that point, would it have been reasonable for an      12        saying that there was any affirmative evidence that
13        officer at the scene to believe that if Davis was in        13        there were, but the officers had no way of knowing that
14        the trailer that he was the only person in the trailer?     14        at the time.
15   A.     Well, I don't know how they would have known that.        15   Q.     Even if the officers -- strike that.
16        There certainly could have been another person hiding       16               You would agree then that there were no
17        in the trailer. I don't know that they had any way of       17        facts, at least as you understand them, that would have
18        knowing that.                                               18        affirmatively suggested to the officers that there was
19   Q.     Is there anything in the facts that you understand        19        someone else besides Davis in the trailer. Do you
20        about this case that would have suggested to an officer     20        agree with that?
21        on the scene that there was, in fact, someone other         21   A.     I do agree.
22        than Davis in the trailer?                                  22   Q.     I'm going to ask you some questions about the trailer
23   A.     Well, the officers would have no way of knowing that.     23        itself. So I'll share my screen again. And I'm
24        I haven't seen anything that was --                         24        showing you or I have up on the screen what was marked
25   Q.     I understand your point, but looking at it from a         25        as Exhibit 1 at Mr. Davis' deposition. I'll scroll --


                                                       Page 40                                                             Page 41
 1        it's nine photographs and I'm scrolling through. Have        1   Q. When you say perhaps the hallway do you know if --
 2        you seen these photos before?                                2   A. I'm sorry. Go ahead.
 3   A.     I believe I seen some of those. Some of those appear       3   Q. Well, that's probably as clear of question as I can
 4        to be new to me, but for the most part, yes, I've seen       4      ask. Do you know what that shows, other than the
 5        those photos.                                                5      kitchen?
 6   Q.     Are you able to identify the ones you've seen and those    6   A. Other than what's obvious, no.
 7        that you haven't?                                            7   Q. Do you know what's at the end of that hallway?
 8   A.     Not really. I don't know if I've ever seen that photo,     8   A. It appears to be a bathroom.
 9        the one that is currently on the screen, but certainly       9   Q. The third picture of the nine, what does that show?
10        so I didn't -- I believe in the video, but I may have       10      Well, strike that.
11        seen it. I may have reviewed it and just don't recall.      11             Have you seen this before?
12   Q.     Fair enough. So this first photo which is page one of     12   A. It's the same photo -- the photo you have on the screen
13        Exhibit 1 of Mr. Davis' deposition, what do you             13      is the same one that we just discussed.
14        recognize that as showing, if you know?                     14   Q. Okay. The fourth photo, have you ever seen this one
15   A.     It appears to be the interior of the trailer.             15      before?
16   Q.     What from what vantage point?                             16   A. I'm not sure.
17   A.     I don't know that.                                        17   Q. Fifth photo, have you ever seen that one before?
18   Q.     I'll show you the second photo. Have you ever seen        18   A. It looks familiar. I certainly seen it either in video
19        this before?                                                19      or in still photo, yes.
20   A.     I believe so, but I don't know if it was the exact        20   Q. And what does it depict, other than the obvious that
21        photo, but a similar photo perhaps. Maybe it was the        21      that is a mirror and a sink?
22        same one, yes.                                              22   A. I believe that is the entrance to the back bedroom
23   Q.     What does it depict?                                      23      where Mr. Davis was apprehended.
24   A.     It appears the kitchen area and perhaps the hallway of    24   Q. And this photo, what does that show? Strike that.
25        the trailer.                                                25             Have you ever seen this one before?




                                                                                                11 (Pages 38 to 41)
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                                                   Page 42                                                           Page 43
 1   A. I believe so, yes.                                         1      point would have been able to see Mr. Davis?
 2   Q. And what does it show?                                     2   A. It does not appear that they would have been able to
 3   A. The narrow entranceway into the bedroom where Mr. Davis    3      see Mr. Davis.
 4      was apprehended.                                           4   Q. This third photo is roughly the same vantage point but
 5   Q. The seventh photo, what does that depict?                  5      a little bit closer towards the start of that hallway,
 6   A. That was the area where Mr. Davis was apprehended.         6      correct?
 7   Q. Same for the eighth photo?                                 7   A. That's correct.
 8   A. I believe so, yes.                                         8   Q. And to your understanding from this vantage point would
 9   Q. And the ninth photo, that's of that same entryway with     9      the officers have been able to see Mr. Davis?
10      a tape measure, yes, showing the width of the gap         10   A. Probably not.
11      between what looks like a box spring and the frame of     11   Q. This third photo is in the hallway closer to the
12      the doorway?                                              12      bathroom and the end of the hallway, correct?
13   A. Yes.                                                      13   A. That is correct.
14   Q. Have you ever seen that before?                           14   Q. And to your understanding would the officers have been
15   A. I believe so, yes.                                        15      able to see Mr. Davis from this vantage point?
16   Q. So going back to the second picture, is it your           16   A. I don't know that. I know at one point they said that
17      understanding based on the fact that this is sort of      17      they were able to see Mr. Davis so I don't know exactly
18      the view of the trailer the officers would have had       18      where they were standing when they were able to see
19      when they first came in through the door?                 19      him.
20   A. That's my understanding, yes.                             20   Q. Understood. But from this vantage point do you think
21   Q. And so Mr. Davis would have been down this hallway in     21      an officer would be able to see Mr. Davis?
22      that back bedroom at the time, correct?                   22   A. I have no way of knowing. Based on the photograph,
23   A. That's my understanding.                                  23      probably not.
24   Q. And it's your expectation, as an experienced police       24   Q. And this vantage point is basically from the entrance
25      officer, that the officers standing from this vantage     25      to the bathroom, correct?


                                                   Page 44                                                           Page 45
 1   A. It appears so, yes.                                        1      straight and go right into the bedroom, correct?
 2   Q. And from your understanding of the facts where was Mr.     2   A. I don't know that.
 3      Davis lying relative to the doorway into that back         3   Q. And you can't tell that from the pictures?
 4      bedroom, that is when the officers entered the trailer     4   A. Well, I can tell you go down the hallway and you have
 5      and started moving back towards him?                       5      to jog to the left, if you're standing in the bathroom,
 6   A. He was in that area that appears to be a bed next to a     6      but I guess I assume that that was the entranceway to
 7      closet, in that area.                                      7      that bedroom back there.
 8   Q. He was somewhere in that back bedroom?                     8   Q. The ninth picture is showing the measurement of the
 9   A. That's me understanding, yes.                              9      opening between the box spring and the frame. Do you
10   Q. And my question was: Specifically, where in the back      10      have any reason to dispute that's how wide that opening
11      bedroom was he, to your knowledge, based on your review   11      was at the time the officers were trying to get into
12      of the facts?                                             12      that room?
13   A. My understanding he was lying on the bed.                 13   A. I have no reason to dispute that.
14   Q. Where?                                                    14   Q. And the picture shows it to be about a 12 inch, 11 and
15   A. I don't know that exactly.                                15      a half inch gap, correct?
16   Q. To get from the kitchen to that back bedroom an           16   A. That's correct.
17      individual would have to go down the hallway into the     17   Q. Now the back room of the trailer that Mr. Davis was in,
18      bathroom, then jog left, and then jog right to go         18      do you know whether or not it has any windows?
19      through the doorway into that back bedroom, correct?      19   A. I don't believe it did or I guess I should say it's my
20   A. Apparently. I don't know how many jogs they would have    20      understanding that there were no windows in there.
21      to do. I don't know if it's a straight shot from that     21   Q. And that's based on what?
22      hallway through where that picture is showing where the   22   A. I believe officer, one of the officer's depositions,
23      mattress is, whether they have to jog right or left at    23      Officer Allen's deposition where they said that there
24      that point. I have no way of knowing that.                24      was no chance that Allen was going to be able to or
25   Q. Well, certainly you don't just proceed down the hallway   25      that Davis was going to be able to flee because there




                                                                                          12 (Pages 42 to 45)
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                                                    Page 46                                                             Page 47
 1      was no windows in the bedroom.                             1        conclude that there was not. Perhaps if there was, the
 2   Q. If there had been a window, that would have been a         2        officers would have been attempting to look into that
 3      potential way for Davis to continue to flee, correct?      3        bedroom from the exterior of the trailer, which would
 4   A. Perhaps. I don't know how big the window would have        4        have been a more tactical, sound way to approach the
 5      been. If he was able to fit through it, perhaps.           5        situation. So I have to assume that there was not.
 6   Q. In your experience as a law enforcement officer, if        6   Q.    Do you know whether or not there was a door to the
 7      there's a window some suspects will try and go through     7        outside from that back bedroom?
 8      the window to flee, correct?                               8   A.    I don't know. I don't -- I don't know if there was or
 9   A. If it's large enough for them to get through.              9        not.
10      Obviously, if it wasn't large enough my experience        10   Q.    Do you know whether or not there was a second door in
11      would be that they wouldn't try to force themselves       11        and out of that trailer, that is aside from the front
12      through an opening that they could not get through.       12        door, anywhere in the trailer?
13   Q. Do you know whether Officer Allen or Sergeant Hodek       13   A.    Based on the officer's deposition testimony I concluded
14      knew whether or not there were any windows in the back    14        that there was not, that there was no ability for Mr.
15      bedroom as they entered the trailer?                      15        Davis to flee from that back bedroom. Whether there
16   A. I believe officer -- the officer's testimony, Officer     16        was a door there or not, I have no way of knowing that,
17      Allen's testimony was that they knew that Davis could     17        other than what the officers testified to.
18      not flee from that location is my understanding from      18   Q.    And do you know whether or not the officers knew as
19      the testimony.                                            19        they entered the trailer whether or not there was a
20   Q. Other than your belief as to Officer Allen's testimony,   20        door either in the back bedroom or a second door
21      is there any other information you have about whether     21        elsewhere in the trailer?
22      or not the officers knew whether or not there was a       22   A.    That led out of the trailer?
23      window in that back room?                                 23   Q.    Yes.
24   A. I did not see any reference to it or any evidence that    24   A.    They should have known that.
25      suggests that there was a window. I would have to         25   Q.    I'm not asking if they should have. I'm asking if you


                                                    Page 48                                                             Page 49
 1      know whether or not they knew?                             1   Q. There was some sort of cabinet or a set of drawers just
 2   A. There was no indication in any of the reports that they    2      to the other side of the bed, correct?
 3      knew that so I concluded that there was not any means      3   A. It appears to be, yes.
 4      for Davis to escape the from the back bedroom,             4   Q. And there was a closet filled with clothes and other
 5      according to their testimony.                              5      items to the right of that set of drawers, yes?
 6   Q. There was no mention of a second door so you concluded     6             MR. STUDENT: I'll object to the extent it
 7      that there wasn't?                                         7      might mischaracterize the photograph. I don't know if
 8   A. Well, I concluded based on Officer Allen's testimony       8      you want to look at the photograph, counsel.
 9      that Davis did not flee, he knew Davis could not flee      9   BY MR. JONES:
10      from that bedroom. So I concluded that there was no       10   Q. Do you agree with my question?
11      means of escape from a back bedroom according to          11   A. Well, it's my --
12      Officer Allen. And can I -- perhaps -- and there was      12   Q. Do you remember my question?
13      no indication, based on the body camera, that there       13   A. I remember it, but it perhaps would be easier if we
14      were concerns that he was going to flee out a window or   14      looked at the photograph and I could tell you exactly
15      another door because there was no communications from     15      what the photograph depicts.
16      Allen to any of the officers that were on the exterior    16   Q. Well, I'm guess I'm asking you, based on your
17      of the trailer to cover the back bedroom or to cover      17      understanding of the facts of this case, was there a
18      the window or to cover the door. So I don't believe       18      closet in that bedroom filled with clothing and other
19      that that was a concern that they had at the time.        19      articles?
20   Q. As we've seen in the pictures, the back bedroom was       20   A. My understanding, and again it's only based on my
21      cluttered, to say the least, yes?                         21      viewing of the photographs that there was, yes.
22   A. It appears so, yes.                                       22   Q. And as the officers entered the trailer and moved to
23   Q. There was a lot of bedding and clothing on the bed,       23      that back room did they know whether or not there were
24      yes?                                                      24      any weapons in the room?
25   A. Correct.                                                  25             MR. STUDENT: Object to form.




                                                                                            13 (Pages 46 to 49)
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                                                      Page 50                                                              Page 51
 1   A. There was no indication that they knew that the suspect       1   A. Well, if they believed that the suspect Davis was in
 2      was armed or that there were weapons in there. They           2      the back room with a firearm or some type of a weapon,
 3      suspected that there could be, which was reasonable.          3      they certainly would not have taken their vest off,
 4   BY MR. JONES:                                                    4      holstered their weapons, and walked into that back
 5   Q. Would it be fair to say, based on your review and             5      bedroom area. It makes absolutely no tactical sense
 6      understanding of the facts, that they were -- they did        6      whatsoever.
 7      not know whether or not there were weapons in that back       7   Q. And so from the fact that they took their tactical
 8      room?                                                         8      vests off to get into the room you concluded that they
 9   A. I'm assuming they did not believe there were weapons,         9      knew there weren't weapons in the room. Is that a
10      yes.                                                         10      correct understanding of your testimony?
11   Q. No. My question is: Based on your understanding of           11   A. Well, their actions led me to believe that they did not
12      the facts, your review of the facts in this case, did        12      believe there were weapons in the room. Otherwise,
13      the officers know whether or not there were weapons in       13      they would not have made the tactical decisions that
14      the back room?                                               14      they made to enter a room where, in their terms, an
15   A. Well, based on their actions, I have to conclude that        15      individual that was barricaded you certainly just don't
16      they knew that there were not weapons.                       16      holster your weapon, take off your vest, and walk into
17   Q. Setting that aside for the moment, is there any other        17      a back bedroom if you believe the suspect is armed.
18      evidence that would suggest that the officers knew one       18   Q. Other than from, again, taking off their tactical vests
19      way or the other whether there were weapons in the back      19      and holstering their weapons, that led you to believe
20      room?                                                        20      that the officers knew there weren't any weapons in the
21   A. I concluded that they knew that there were not weapons,      21      back room. Is that your testimony?
22      based on their actions.                                      22   A. Well, I guess my testimony is that their actions
23   Q. And what in their actions led you to believe that the        23      indicate to me that they did not believe that there was
24      officers knew that there weren't weapons in the back         24      a threat of weapons or they would not have acted as
25      room?                                                        25      they did. They would have considered other tactical

                                                      Page 52                                                              Page 53
 1        options instead of holstering their weapons, removing       1        truly believed that he was armed with a weapon and was
 2        their ballistic vests, and walking into a back bedroom.     2        barricaded. Certainly, they had the ability to recall
 3   Q.     And other than those three things, removing their         3        the dog and to reassess the situation at that point,
 4        vests, holstering their weapons, and walking into the       4        and they did not do that. Let me just qualify my
 5        back room, are there any other actions that lead you to     5        answer. If, in fact, they had the ability to verbally
 6        believe that they did not have a concern that there         6        recall the dog. And I'm not convinced that they did.
 7        were weapons in that back bedroom?                          7   Q.     Aside from -- let's set aside for the moment your view
 8   A.     There were other tactical options that they certainly     8        of the decision that Officers Allen and Hodek made as
 9        should have considered, such as backing out of the          9        they got to the entryway to the back bedroom. Would a
10        trailer, calling for a SWAT team, introducing perhaps      10        reasonable officer have been concerned, given
11        chemical spray into the back bedroom. There's a number     11        everything that they knew and that had occurred up
12        of things that if they truly believed that the suspect     12        until the point that they entered the trailer, would a
13        was armed that their actions were inconsistent with the    13        reasonable officer have been concerned about the
14        reasonable tactical decision.                              14        presence of weapons in the back bedroom as he or she
15   Q.     And calling a SWAT team, introducing chemical spray      15        moved down the hallway toward the back bedroom?
16        into the back room, those are things that they would       16   A.     They should have been concerned, absolutely. And the
17        have done while Koda had a bite on Mr. Davis. Is that      17        actions that they took are inconsistent --
18        your testimony?                                            18   Q.     Hang on. Hang on, Mr. Tiderington. Do you know
19   A.     Well, there's a number of things. If they believe that   19        whether either of the officers observed any weapons, as
20        a suspect was armed and they referenced that he was --     20        they moved down the hallway?
21        the reason for the use of force by the dog was they        21   A.     There was some reference to a knife being seen or
22        believed he was in a barricaded position and possibly      22        observed, but I don't know if that was in the bathroom
23        armed, under those circumstances it would have been        23        or exactly where that was.
24        reasonable for them to contain the location, set up a      24   Q.     And at the point where the officer got to the back
25        perimeter, and request a SWAT time to respond if they      25        bedroom Mr. Davis obviously had not been searched,




                                                                                               14 (Pages 50 to 53)
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                                                    Page 54                                                          Page 55
 1      correct?                                                   1   A. That's correct.
 2   A. He had not been, yes, that's correct.                      2   Q. And when they entered the trailer they moved from the
 3   Q. And would you agree that given the layout of the           3      entryway to the back room, correct?
 4      bedroom and given the state of the bedroom, that is        4   A. They did.
 5      relative to the clutter on the bed, in the drawers, and    5   Q. And I understand that-- I understand that you hold the
 6      in the closet, that it would be reasonable to be           6      opinion that they should have or Officer Allen should
 7      concerned about the presence of weapons in that room       7      have released the dog sooner. So my question is not
 8      even standing in the doorway?                              8      intended to get to that.
 9   A. Absolutely. I was surprised that they were not             9   A. Wait a minute. Clarify that statement.
10      concerned about that and perplexed that they were not     10   Q. Sure. I understand that one of your opinions is that
11      concerned about it.                                       11      Officer Allen should have he released or called the dog
12   Q. If you look at your report on page six?                   12      off Mr. Davis sooner than he did.
13   A. Yes.                                                      13   A. That's one of my opinions, yes.
14   Q. There is a timeline that you give?                        14   Q. Okay. And I understand the other or another of the
15   A. That's correct.                                           15      opinions to be that he should not have released Koda
16   Q. Is that timeline drawn from something Mr. Student gave    16      into the trailer to begin with, correct?
17      you or is that your own sort of transcript, rough         17   A. That is correct.
18      transcript of the audio on the body camera footage?       18   Q. Okay. So my question is not intended to get at the
19   A. It's -- I listened to it many times, and it's a rough,    19      issue of whether or not he released Koda quickly
20      as you phrased it, a rough transcript of what I           20      enough. Setting that aside, do you agree that the
21      understood the exchange during this time period was.      21      officers moved quickly down the hallway?
22   Q. There were two officers that entered the trailer,         22   A. After the dog had already engaged Mr. Davis or --
23      correct?                                                  23   Q. Yes.
24   A. That's my understanding, yes.                             24   A. Did they move quickly? I -- I think they moved as
25   Q. Officer Allen and Sergeant Hodek?                         25      quickly as they could, but then they realized that

                                                    Page 56                                                          Page 57
 1      there were tactical options that they could not bypass.    1   A. I don't.
 2   Q. You mean they realized there was a blockage in the         2   Q. If an officer cannot see a subject, is it possible for
 3      doorway?                                                   3      him to have deadly force cover?
 4   A. I call it tactical obstructions, yes, a blockage in the    4   A. I'm not sure I understand the question.
 5      doorway. Well, they knew that perhaps before they          5   Q. Well, you refer in your report several times to what
 6      released the dog.                                          6      you call deadly force coverage. Do you know what I'm
 7   Q. Let me understand what you just said. Are you saying       7      talking about?
 8      that the officers knew that the doorway was blocked        8   A. I do.
 9      before they entered the trailer?                           9   Q. What do you mean by deadly force coverage?
10   A. Not before they -- no. No, not before they entered,       10   A. Well, it's when an officer is or has his weapon in a
11      but once they entered they -- there was testimony that    11      ready position and has the ability to apply deadly
12      the trailer was cluttered and many obstructions           12      force if it's required.
13      throughout.                                               13   Q. And the ability to apply deadly force would that be
14   Q. Am I correct that as they moved down the hallway          14      line of sight unbroken by cover?
15      Officer Allen was first and Sergeant Hodek was second?    15   A. You would have to be able to see your target to shoot
16   A. That's my understanding, based on their testimony, yes.   16      at it, I guess, if I understand your question
17   Q. And Allen was sort of slightly to the right hand side     17      correctly. Yes, you don't shoot at anything unless you
18      of the hallway and Hodek was behind him slightly to the   18      are able to confirm a target.
19      left hand side of the hallway?                            19   Q. Now an officer trying to determine whether or not he
20   A. I believe that was the testimony, yes.                    20      has identified and can see the target, does it matter
21   Q. And do you know how long that hallway is?                 21      how much of the target the officer can see?
22   A. I don't.                                                  22   A. When you say does it matter, based on what -- based on
23   Q. Do you know how wide it is?                               23      whether or not they'll use deadly force?
24   A. It looks fairly narrow.                                   24   Q. No. Based on whether or not it can be concluded or
25   Q. Beyond that, do you know?                                 25      judged that they have deadly force coverage?




                                                                                          15 (Pages 54 to 57)
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 1   A. Well, it changes moment to moment. They may have it at     1      moment?
 2      one point and may not have it at another point.            2   A. It could, yes.
 3   Q. If all you can see of a suspect is a hand and you have     3   Q. And if an officer can't see a subject at all is it
 4      your weapon drawn, would that be considered having         4      possible for him to have deadly force coverage on the
 5      deadly force coverage?                                     5      subject?
 6   A. It's -- it's -- I can't really answer that question.       6   A. If he can't see the suspect?
 7      It's -- if all that an officer can see is somebody's       7   Q. Yes.
 8      hand, does that mean he has deadly force coverage,         8   A. Well, certainly he could still have deadly force, the
 9      perhaps, but the officer may have to move in order to      9      ability to deploy deadly force if he needed to so his
10      deploy deadly force. Certainly, I'm not suggesting        10      weapon would be at the ready, and that would be
11      that -- I'm sorry. I'm not suggesting that an officer     11      considered deadly force coverage. Does he have the
12      would be shooting at a hand that's waving above           12      ability to deploy deadly force I think is the question
13      somebody's head. They would have to certainly             13      you're asking versus whether or not he had deadly force
14      determine a target before deadly force would be used.     14      coverage.
15   Q. If all the officer can see is the top of someone's head   15   Q. Okay. I apologize for being slow to understand, but --
16      and a hand, would you consider that officer to have       16   A. No, no worries. That's what I'm here to --
17      deadly force coverage?                                    17   Q. Thirty years as a lawyer, but zero years as a law
18   A. I would consider to have deadly force coverage when the   18      enforcement officer. So deadly force coverage, as you
19      officer removes his weapon from the holster. When he      19      use it in your report, is an officer having his weapon
20      decides to use that deadly force would be a decision      20      out and at the ready?
21      that the officer would have to make based on a number     21   A. That's -- yes, that is correct.
22      of factors. So --                                         22   Q. And the ability to deploy deadly force coverage depends
23   Q. Including what they can see of the subject, yes?          23      on a number of other factors?
24   A. From second to second, moment to moment, yes.             24   A. Whether it's justified or whether it's reasonable, yes.
25   Q. And that can change from second to second and moment to   25   Q. And among those would be whether or not the officer can


                                                    Page 60                                                          Page 61
 1      see the suspect?                                           1      it's reasonable.
 2   A. Well, whether or not the suspect poses an eminent          2   Q. Do you know whether or not Sergeant Hodek could see Mr.
 3      threat and whether or not the officer has the ability      3      Davis, as the two officers worked their way down the
 4      to safely and reasonably deploy deadly force would be      4      hallway?
 5      all factors that would have to be taken into               5   A. There is testimony that both Allen and Davis, I'm
 6      consideration, moving from coverage to actual              6      sorry, Allen and the sergeant at times did see Davis.
 7      deployment of deadly force.                                7      I don't know exactly when in the scenario that they
 8   Q. Does the issue of whether or not the officer can see       8      were able to see him, but both testified that at one
 9      the suspect is that a factor in determining whether the    9      point they could see -- I think Allen said he
10      officer has the ability to deploy deadly force?           10      identified Davis as the suspect. So it led me to
11   A. Yes.                                                      11      believe that he was able to see him, obviously.
12   Q. If an officer cannot see a subject, is it possible or     12   Q. I'm asking about Sergeant Hodek.
13      is it reasonable for him to deploy deadly force?          13   A. I would have to review his deposition, but it's my
14   A. It would be unreasonable.                                 14      understanding is that he also was able to view Davis at
15   Q. If an officer does not have unobstructed line of sight    15      certain points in time during the encounter with Davis.
16      to a subject, is it reasonable for him to deploy deadly   16   Q. Are you saying that's based on Sergeant Hodek's
17      force?                                                    17      deposition?
18   A. Well, again, these are hypothetical questions that        18   A. No. I said I would have to review that to determine
19      you're asking and you say unobstructed. There's many      19      that or I believe also in Allen's deposition there was
20      times when deadly forced is used and you have a           20      some reference to what the sergeant could see and not
21      somewhat obstructed view of your target. Again, these     21      see.
22      are hypothetical questions that you're asking so it's     22   Q. What was that reference?
23      all based on facts and circumstances that I'm not sure    23   A. Again, I would have to review the deposition again to
24      at that moment based on the decision that they make on    24      clarify exactly what they could or could not see.
25      whether or not deadly force is appropriate and whether    25   Q. So as you sit here today now do you know what Sergeant




                                                                                          16 (Pages 58 to 61)
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                                                      Page 62                                                           Page 63
 1        Hodek could or could not see as they moved down the         1   BY MR. JONES:
 2        hallway?                                                    2   Q. Do you know if the officers knew when they first
 3   A.    I do not.                                                  3      entered the trailer and started moving down the
 4   Q.    And do you know, as you sit here now, what Deputy Allen    4      hallway, do you know if they knew about the obstruction
 5        could see of Davis as they moved down the hallway?          5      in the doorway to the back room?
 6   A.    Based on his report or deposition I believe he said        6   A. When they first -- I mean they testified that they knew
 7        that he could see -- he identified Davis as the suspect     7      that there was an obstruction. I don't know when, as
 8        they were looking for.                                      8      they progressed down that short, narrow hallway, when
 9   Q.    Other than that, do you know what he could see as they     9      they realized there was an obstruction. I think there
10        moved down the hallway?                                    10      was testimony that the dog disappeared so they realized
11   A.    He mentioned that he could see that Davis had one hand    11      that there was another back entrance or that there was
12        or both hands up in the air and that -- and he could       12      a barricaded entrance or doorway is my recollection of
13        see his head or his face.                                  13      their testimony.
14   Q.    Beyond that, do you know what he could see?               14   Q. You do not know when they realized there was a box
15   A.    I do not.                                                 15      spring in the doorway, is that correct?
16   Q.    Do you know whether or not the officers could see what    16   A. That is correct.
17        was in the immediate area surrounding Davis?               17   Q. In your report later on you talk about what you
18   A.    I don't know.                                             18      described as verbal indications of surrender by Mr.
19   Q.    If it is true they could not see what was in the          19      Davis, yes?
20        immediate area surrounding Davis, is it also true then     20   A. Can you point to what page you're referring to, just
21        that they would not have been able to know or see what     21      so --
22        Davis -- what was within his reach?                        22   Q. Page 18. In the last three or four sentences you
23                MR. STUDENT: Object to form. Go ahead and          23      wrote, was verbally indicating he was surrendering?
24        answer.                                                    24   A. That's correct.
25   A.    That's correct.                                           25   Q. And if we go back to page six, what of Mr. Davis' words


                                                      Page 64                                                           Page 65
 1      do you base that conclusion on?                               1      subject in that circumstance?
 2             MR. STUDENT: Object to form.                           2   A. I'm sorry. Can you clarify that question? Are
 3   A. I base it on essentially the moment the canine began          3      officers -- or I'm trying to clarify it so I understand
 4      biting him and he was screaming out in pain and asking        4      exactly what you're asking. Are officers trained to
 5      for help. Help me please is certainly some of the             5      tell the suspect to do something that is physically
 6      words that he used multiple times, and that certainly         6      impossible when they're being bit by a dog? I don't
 7      is an indication to me that he is surrendering.               7      think that's the training that most officers adhere to.
 8   BY MR. JONES:                                                    8   Q. Whether or not officers are, as part of canine
 9   Q. On page six in your chart or box of was what was said         9      training, are trained to give a command like that for
10      you account or recount that Mr. Davis asked for help,        10      an individual who's been apprehended by a canine, are
11      yes, several times?                                          11      they trained to tell the individual to come to them?
12   A. That's correct, yes.                                         12   A. While the dog is engaged and biting their arm, I don't
13   Q. And it's those words that you later on described in          13      believe so.
14      your report as a verbal indication of surrender, yes?        14   Q. Are there any circumstances where officers who are
15   A. I would say so, yes.                                         15      getting canine training are trained to give a command
16   Q. Deputy Allen's direction or command, however you want        16      like that?
17      to characterize it, to Mr. Davis that he come out to         17   A. If it's reasonable, but you can't expect that an
18      them?                                                        18      individual that is being attacked by a canine is going
19   A. Correct.                                                     19      to have the ability to simply walk out, calmly walk out
20   Q. And, you know, I understand your criticisms of that          20      of a bedroom. And, furthermore, there's some confusion
21      direction or at least I understand what you're saying        21      on whether or not Koda was trained to attack based on
22      in your report about that. The question I want to ask        22      movement and whether -- or whether or not -- well,
23      you though is: That command that the subject or a            23      whether or not he was attacked based on the movement of
24      subject who has been apprehended by a canine, is that        24      the suspect. The situation where Koda was placed into
25      consistent with how officers are trained to speak to a       25      the attic the handler told the suspect don't move or if




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 1        you keep moving he's going to attack you more. He told     1        -- well, strike that.
 2        him not to move. So what was Koda trained to do, to        2               If Koda had been directed to release from Mr.
 3        attack based on movement or to attack or to allow the      3        Davis before the officers were in the room, would the
 4        suspect to simply walk away. How does the dog know         4        officers have had the ability to control his movement,
 5        that the suspect is not trying to flee or escape or --     5        that is Mr. Davis' movement?
 6        none of it makes sense on what they asked the suspect      6   A.     Certainly.
 7        to do in this circumstance.                                7   Q.     How would they have done that, if they were not in the
 8   Q.    On page six of your report you say a couple of times      8        room at the time Koda was released?
 9        once that the officers claim that they were unable to      9   A.     Well, and again this is hypothetical, but they
10        gain immediate access to the room and a second time       10        certainly -- Officer Allen testified that he had the
11        that Officer Allen claimed he was unable to get into      11        ability to call Koda off and have him sit and stay in
12        the room. I want to ask you: What do you mean when        12        front of the suspect, and he decided not do that. He
13        you say they claim they couldn't get into the room?       13        also said he had the ability to recall Koda. And if he
14   A.    Well, that's what they wrote in their police reports.    14        would have recalled the canine back to him they simply
15   Q.    So did you --                                            15        could have instructed Davis to come out with his hands
16   A.    I'm not disputing that that wasn't factual.              16        up. And that's tactically -- would have been
17   Q.    Okay. Well, the way you phrased it led me to wonder.     17        tactically safer for the officer, and is something that
18        Do you dispute that they were not able to get into the    18        I believe any reasonable officer would have done based
19        room, at least initially, because of the obstruction in   19        on these circumstances.
20        the doorway?                                              20   Q.     If Koda had been released and Officer Allen or Sergeant
21   A.    No, I don't dispute that at all. And, likewise, Davis    21        Hodek had given the direction to Davis to come out with
22        was unable to walk out of the room with the canine        22        his hands up and Mr. Davis had chosen not to do that,
23        hanging on him through an opening of 12 inches. So,       23        would the officer at that point, under that scenario,
24        no, I agree with both of those.                           24        have been able to physically control Mr. Davis'
25   Q.    If Koda had been released from Mr. Davis before he was   25        movements at that point?


                                                     Page 68                                                               Page 69
 1   A. Certainly. They could have redeployed the dog, easily        1      taser. There were many other options that they could
 2      redeployed the dog or they could have made another           2      have and certainly were better options for all involved
 3      tactical decision and used other options that were           3      and even for the safety of the officers. If they truly
 4      available to them if they really felt that they had a        4      believed he was armed, the tactical decisions they made
 5      barricaded armed suspect in the back room.                   5      were inconsistent with generally accepted police
 6   Q. What would those other tactical options have been, if        6      practices.
 7      Koda had been released and Mr. Davis had counteracted a      7   Q. If Koda had been released while the officers were still
 8      directive to come out with his hands up?                     8      outside the room and Mr. Davis had not complied with
 9   A. Well, certainly the most obvious was they could have         9      the directive to come out with his hands up, would the
10      redeployed the dog, if that was a decision that they        10      officers in that moment have been able to control his
11      wanted to make. I believe --                                11      hands?
12   Q. You said there were other tactical options beyond that.     12             MR. STUDENT: Object to form. You can
13   A. Yes.                                                        13      answer.
14   Q. What would those have been?                                 14   A. They would not have needed to control their hands.
15   A. Certainly. The more acceptable options, I believe,          15      They were in a position of -- there wasn't apparently
16      would have been for them, if they believed that he was      16      immediate eyesight for them. They had the ability to
17      armed and barricaded as they said in the deposition and     17      use deadly force if they needed to. They simply should
18      in the report, that they should have treated it at as       18      have or could have commanded Davis to walk out with his
19      such. They should have treated the situation as a           19      hands up, and if he refused to do so other tactical
20      possibly barricaded gunman that was refusing to comply      20      options should have been considered.
21      with their request, and they should have either             21   Q. My question is: If they had called Koda off or Officer
22      deployed a team that was knowledgeable on how to safely     22      Allen had called Koda off while the officers were still
23      conclude and resolve the situation, such as a trained       23      outside the room and Mr. Davis had not complied with
24      SWAT team with a negotiator or they could have              24      the directive to come out, in that moment would the
25      introduced OC spray, perhaps they could have used their     25      officers have been able to control his hands?




                                                                                              18 (Pages 66 to 69)
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 1   A. They didn't have the ability to control his hands when       1        released the dog into the trailer, and two that he
 2      they went into the room with their weapons holstered         2        should have called the dog off Mr. Davis sooner, yes?
 3      and the ballistic vests off. The dog had ahold of one        3   A.    Essentially, yes.
 4      arm. As you pointed out when you were showing me the         4   Q.    And are those the two -- let me ask it a different way.
 5      photographs that that bed was cluttered with all kinds       5        Are there other opinions that you hold in this matter?
 6      of debris. There could have been a weapon any place          6   A.    No. Those are essentially the two opinions that I
 7      underneath that, and certainly Davis had the ability to      7        hold.
 8      access a weapon. So it would have been much safer for        8   Q.    Okay. Why was it not reasonable for Officer Allen to
 9      the officers to treat it as a -- to treat it as a            9        release Koda into the trailer when he did?
10      tactical barricaded situation and to have the suspect       10   A.    Well, first of all, based on the information I
11      come out, especially since the fact that he was             11        reviewed, the officer did not have the ability to
12      obviously injured. In all likelihood, he would have         12        verbally recall the dog at any time. I have not seen
13      complied.                                                   13        any evidence that suggests that he had the ability to
14   Q. Well, I don't think you answered the question I posed       14        verbally recall the dog. If he did not have the
15      to you.                                                     15        ability to verbally recall the dog, he knew or should
16   A. Okay. I'm sorry. I'll try to.                               16        have known that that dog was going to attack anybody
17   Q. It's not a criticism. If the officers or Officer Allen      17        that it encountered in the trailer, and that he did not
18      had released Koda while he and Sergeant Hodek were          18        have the ability to verbally recall it, and that he
19      still outside the room and had directed Mr. Davis to        19        would have to physically remove the dog from the
20      come out to them with his hands up, but he had not          20        suspect. And for those reasons I believe it was
21      complied with that directive, in that moment would the      21        unnecessary and unreasonable for him to release the dog
22      officers have been able to control Mr. Davis' hands?        22        into a situation that he knew that he could not
23   A. No. No.                                                     23        control.
24   Q. So we talked generally about two opinions you hold in       24   Q.    So aside from the fact that, in your words you haven't
25      this matter, one that Officer Allen should not have         25        seen any evidence that Officer Allen couldn't recall

                                                      Page 72                                                             Page 73
 1        Koda at his command, what other reasons are there for      1      situation where he would have perhaps considered other
 2        your conclusion that it was not reasonable for Allen to    2      better tactical options. As you pointed out perhaps in
 3        release Koda into the trailer when he did?                 3      your questioning early on, if there was a window into
 4   A.    Well, and also as I stated in my report, I believe the    4      that back bedroom, I don't believe there was, but if
 5        dog was unpredictable and vicious. Allen knew or           5      there was then certainly the window should have been
 6        should have known the dog bit a police officer. And he     6      used as part of the tactical options to apprehend Mr.
 7        should have known that he did not have full control        7      Davis in a way that was not only safer for Mr. Davis
 8        over the use of force via the canine dog that he was       8      but safer for the police officers.
 9        deploying.                                                 9   Q. So aside from calling a SWAT team, what other
10   Q.    I hear you. I've heard you say that. What I want to      10      alternatives, more reasonable tactical options were
11        know is whether there are any other reasons beyond your   11      there, aside from releasing the dog into the trailer?
12        belief that he couldn't control the dog that lead you     12   A. Well, if he knew or in my view he knew or should have
13        to conclude it was not reasonable to release the dog      13      known that he did not have the ability to verbally
14        into the trailer?                                         14      recall the dog or to control the dog, I believe they
15   A.    Well, and also that there were other tactical options    15      should have considered perhaps -- I don't think it was
16        that should have been considered based on the totality    16      the best scenario, but they could have considered using
17        of the circumstances.                                     17      OC spray, they could have considered using a taser.
18   Q.    And those tactical options include calling for a SWAT    18      There was -- there was no need for urgency in this
19        team?                                                     19      situation. If Davis was in that back bedroom, he
20   A.    Well, he can't have it both ways. He concluded or he     20      wasn't going any place. They had the perimeter
21        rationalized that the use of force was reasonable and     21      established around the trailer. There was no sense of
22        necessary because he believed the suspect Davis was       22      urgency that caused them to have to rush in and make a
23        barricaded and armed. If a suspect is barricaded and      23      split second decision on how to apprehend him.
24        armed it is, I would say, an automatic SWAT call out at   24             Reasonable officers would have attempted to
25        that time. And it certainly would have been a             25      diffuse the situation. If they really believed he was




                                                                                              19 (Pages 70 to 73)
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 1        in there, there were other options that they should         1        throughout my career. So I'm very familiar with the
 2        have considered including allowing the dog to be kept       2        use of SWAT teams not only in my own departments, but
 3        on leash, on the lead, if he knew that he couldn't          3        other departments.
 4        control it otherwise.                                       4   Q.     Do you know anything about the Barron County SWAT team?
 5   Q.    Other than calling for a SWAT team, using OC spray,        5   A.     I don't.
 6        using a taser, and entering the trailer with Koda on a      6   Q.     And in terms of OC spray are you suggesting that from
 7        lead, what other more reasonable options existed, in        7        outside the trailer an officer would have deployed OC
 8        your opinion?                                               8        spray into the trailer?
 9   A.    Department negotiator. Again, this is predicated on        9   A.     I'm saying there's other options that should have been
10        the rational that Officer Allen claims in his testimony    10        considered, and that perhaps could have been one.
11        that they believe the suspect was, again, barricaded       11   Q.     When you identify OC spray as another option what did
12        and armed. Barricaded and armed means that you use         12        you mean?
13        other alternative tactical -- you make other               13   A.     That chemical spray could have been deployed inside the
14        alternative tactical decisions that are safe for the       14        trailer. Actually, let me add one more to the list.
15        officers so they don't have to use deadly force or that    15        And it is -- if you look at the use of force policy for
16        -- to resolve it without the use of force, if possible.    16        the Barron County Sheriff's Office, there is also
17   Q.    Is there any other more reasonable options that you       17        diversionary devices that could have been used to
18        would add to the list that you've already given me?        18        safely have taken Mr. Davis into custody. They chose
19   A.    I think the list that I gave you is pretty                19        not to use a diversionary device, distraction device as
20        comprehensive.                                             20        it's sometimes called, that's indicated in their own
21   Q.    Do you know anything about the SWAT team for Barron       21        policies and procedures, commonly known as a flash bang
22        County?                                                    22        device.
23   A.    I don't know a lot about the SWAT team. I know about      23   Q.     When you identify the use of a taser as another more
24        SWAT teams in general. I was the chairman of our SWAT      24        reasonable alternative what specifically do you mean?
25        team, and I've been using SWAT teams for over 40 years     25   A.     Well, when you're comparing use of force they knew or


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 1        should have known that they would not have the ability      1   A. I do, yes.
 2        to control the canine once it was released from the         2   Q. Would you agree that command presence was used in this
 3        lead. When they knew they didn't have the ability to        3      instance?
 4        control the dog what I'm suggesting is that other           4   A. Well, command presence, meaning the show of force, I
 5        options should have been considered, up to and              5      don't believe was used adequately. It was used
 6        including a taser.                                          6      briefly. There was no sense of urgency. There was no
 7   Q.     And how would a taser have been deployed in this          7      reason to have to immediately go into a use of force
 8        instance?                                                   8      situation. So I don't believe it was used
 9   A.     I'm not sure it could have been. I think it should        9      appropriately, no.
10        have been considered.                                      10   Q. What is command presence, to your understanding?
11   Q.     Are there any other tactical options that you believe    11   A. It's a term that I use to identify a show of force, a
12        they should have considered, beyond those you've           12      number of officers on the scene, the fact there that
13        already identified?                                        13      was a perimeter, there was no way for the individual to
14   A.     Beyond the several that I gave you, I'm sure there's     14      escape, even if he had the ability to flee the trailer.
15        others. There's other non-deadly use of forces that        15      That's what I mean by command presence.
16        are indicated in their use of force that I'm not           16   Q. What do you mean by advisements?
17        familiar with. There's something called Bohra Bohra, I     17   A. Various advisements, we know you're inside the trailer,
18        believe. I'm not sure exactly how that's utilized, but     18      we're going to wait you out, we're not going anywhere,
19        it's certainly an option that they provide to their        19      this is going to end with -- the only way this is going
20        deputies, and I'm not sure that it was considered or       20      to end is with you being taken into custody. Again,
21        why it wasn't considered.                                  21      there was no sense of urgency. Use of force did not
22   Q.     On page 19 of your report you talk about deescalation?   22      have to be immediately used, and it did not have to be
23   A.     That's correct.                                          23      used for the duration it was used.
24   Q.     And you identify various forms of deescalation           24   Q. And what do you mean by warnings?
25        techniques in the very last sentence, yes?                 25   A. The various warnings such as we're not leaving, there's




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 1        20 police officers out here, you're going to be taken        1   Q. Yes.
 2        into custody, and it's up to you to surrender                2   A. Not whether or not because I'm clear on the other
 3        peacefully or we're going to wait you out essentially.       3      options that should have been considered other than
 4   Q.     What do you mean by verbal persuasion, other than what     4      deploying the dog, but once it's deployed we're only
 5        you've already described?                                    5      discussing the proportionality and the duration of the
 6   A.     If they certainly believe what they said in their          6      dog bite?
 7        testimony, meaning Officer Allen, that this was a            7   Q. Yes.
 8        barricaded armed suspect in a back room that was a           8   A. Okay. I understand.
 9        barricaded trailer, they had an obligation to deploy a       9   Q. So I understood that one element or factor in you
10        hostage negotiator and to use verbal persuasion before      10      reaching the conclusion you did on that issue was your
11        they considered use of force.                               11      understanding that Mr. Davis was face or stomach down
12   Q.     So with respect to your opinion that Koda should have     12      on the mattress. Do you agree?
13        been released earlier when I review your report or when     13   A. Well, that was one factor in the totality of the
14        I read it it seems to me that you articulate various        14      circumstances. It's my understanding that he was -- I
15        elements or factors that led you to that conclusion.        15      don't know if it would have changed my opinion if he
16        And what I'd like to do is identify those elements or       16      was on his back or sitting or standing, but that was --
17        factors, if we can, okay?                                   17      the facts are, my understanding, was that he was in a
18   A.     Okay.                                                     18      prone position, yes.
19   Q.     And so I'm going to walk through a list. What I'm         19   Q. Okay. Another fact or element in you reaching the
20        interested in is whether or not you agree that that was     20      conclusion you did on that issue was your understanding
21        a factor and element in you reaching your conclusion,       21      that Mr. Davis had his hands up or out as he had been
22        and then at the end, you know, obviously I'll ask you       22      commanded?
23        to identify any others that I've missed, okay?              23   A. It was one of the factors that I considered, yes.
24   A.     So you're asking, just so I'm clear, on the duration of   24   Q. And another factor was your understanding that he did
25        how long the canine engaged and bit Mr. Davis?              25      not display threatening or aggressive behavior towards

                                                       Page 80                                                            Page 81
 1      the officers, yes?                                             1   Q. And another element or factor in your reaching that
 2   A. That's correct.                                                2      opinion was your understanding or belief that Mr. Davis
 3   Q. Another factor was your understanding that it was not          3      did not have a weapon or at least as was ultimately
 4      possible for Mr. Davis to flee, correct?                       4      determined, correct?
 5   A. That's my understanding, yes.                                  5   A. I'm not sure -- ask me that question again, if you
 6   Q. Another factor was your understanding or belief that           6      could, please?
 7      Mr. Davis' behavior constituted passive resistance at          7   Q. You wrote that -- on page 18 you list a number of
 8      most, correct?                                                 8      things including among them was that Davis was, quote,
 9   A. The fact that he was hiding, yes.                              9      without a weapon?
10   Q. Another factor was your understanding or belief that          10   A. That's my understanding, that's correct, yes.
11      Mr. Davis verbally indicated he wanted to surrender?          11   Q. And so that was another factor in your reaching your
12   A. He did, yes.                                                  12      conclusion that Koda should have been recalled sooner,
13   Q. That was a factor in your reaching your opinion, yes?         13      correct?
14   A. That's correct. And he was pleading for help, yes.            14   A. Again, in the totality of the circumstances, yes.
15   Q. Another factor was your understanding or belief that          15   Q. And so other than those that I have just listed or that
16      Sergeant Hodek had deadly force coverage, to use your         16      we've just discussed were there any factors or elements
17      words, yes?                                                   17      that led you to conclude that Koda should have been
18   A. He had the ability to use deadly force, yes.                  18      recalled earlier and that it was not reasonable not to
19   Q. Well, you wrote in your report that he had officer            19      recall him earlier?
20      safety/deadly force coverage on Mr. Davis?                    20   A. Those are the factors that I considered, yes.
21   A. That's correct.                                               21   Q. Are there any others? I just want to be sure I
22   Q. And that was an element in your reaching your opinion         22      understand the complete list.
23      on the issue of when Koda should have been released,          23   A. Well, the fact that the use of force continued for over
24      yes?                                                          24      two minutes, which was certainly unreasonable and
25   A. That is correct.                                              25      inconsistent with generally accepted police practices.




                                                                                              21 (Pages 78 to 81)
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 1      Law enforcement officers don't deploy -- don't use --      1   A. Well, no, he immediately surrendered or attempted to
 2      when somebody is begging for help we don't continue to     2      surrender, and apparently the use of force continued
 3      use force against those individuals. It's almost           3      for two minutes.
 4      tantamount to torturing somebody that's screaming for      4   Q. Are there other factors, beyond those that we have
 5      help, and it's -- the -- the canine, in my view, is        5      already discussed, starting with fact that Mr. Davis,
 6      just like a taser. You have to justify every second        6      to your understanding, was prone on the mattress,
 7      that you pull that trigger on a taser or every baton       7      running through the fact that Mr. Davis, to your
 8      hit to a suspect has to be justified. And to simply        8      understanding, didn't have a weapon? Are there any
 9      say it was a dog so I let him bite him for two minutes     9      other factors that led you to conclude that the length
10      is unreasonable.                                          10      of time Koda was deployed was not reasonable under the
11   Q. The length of a dog being deployed in and of itself is    11      circumstances?
12      not determinative of whether or not it's reasonable or    12   A. Well, that and also when I looked at other incidents
13      unreasonable, correct?                                    13      involving the canine handler and his dog there was
14   A. Well, I think if -- again, you're asking hypothetical.    14      another instance which they deployed the canine against
15      I'm looking at this situation. The fact of this           15      the suspect that was passively resisting by hiding, and
16      situation to allow the dog to continue to bite him for    16      it turned out to be a juvenile that was hiding in the
17      two minutes was certainly unreasonable and inconsistent   17      trailer underneath a bathroom cabinet. The individual
18      with the use of force policies stated in the Barron       18      certainly had no place to go, no place to run, no way
19      County Policies and Procedure, and my understanding of    19      to flee, but they decided to deploy the dog and allow
20      policies, use of force policies throughout the country.   20      the dog to bite this individual, and turned out to be a
21   Q. That's based though not -- that's not some rule of        21      juvenile. So I concluded that the dog is being used
22      thumb relative to length of time that a dog is            22      consistently inappropriately. And often times it's
23      deployed. Your conclusion about the fact that two         23      used to certainly just to inflict no legitimate law
24      minutes was too long was based on those elements or       24      enforcement purpose, other than to inflict pain on a
25      factors that we just discussed, correct?                  25      suspect.


                                                   Page 84                                                              Page 85
 1   Q. So focusing on this specific incident I really just        1        physically restrain the dog and then verbally recall
 2      want to understand if we have fully identified the         2        him.
 3      facts or factors that led you to conclude the dog          3   Q.    So my question was specific to Officer Allen.
 4      should have been recalled sooner. Are there any others     4   A.    Well --
 5      that we haven't discussed, specifically relating to the    5   Q.    That -- hang on a second.
 6      facts of this incident?                                    6   A.    I'm sorry. Go ahead.
 7   A. All of these factors were taken into account in            7   Q.    The incident you're talking about in the attic was with
 8      reaching my conclusion, but as far as the factors that     8        a different officer, correct?
 9      you've identified I believe -- I believe you covered       9   A.    Same dog, different officer is my understanding.
10      all of them.                                              10   Q.    All right. So I'll come back to that.
11   Q. You said -- you said a few moments ago, and you said      11   A.    Okay.
12      this in your report, that you haven't seen any evidence   12   Q.    But if we focus on Officer Allen, aside from the
13      that Officer Allen had the ability to control Koda with   13        incident involving the Cameron police officer, are
14      verbal commands?                                          14        there other facts that you're aware of that tell you
15   A. That's correct.                                           15        that Officer Allen was not able to control Koda with
16   Q. And aside from the incident with the Cameron police       16        verbal commands?
17      officer, are there other facts that you're aware of       17   A.    I could only -- my conclusion is based on the
18      that lead you to conclude that he couldn't control Koda   18        information that was provided.
19      with verbal commands?                                     19   Q.    I'm asking you what information --
20   A. That and when he -- when Koda was deployed up into the    20   A.    Right.
21      attic clearly they were not able, the officer was not     21   Q.    -- I'm asking you what information relative to Officer
22      able to recall him. He said he had to climb into the      22        Allen led you to that conclusion?
23      attic and physically remove him from the suspect, and     23   A.    There was another incident involving I believe it was a
24      that was pretty consistent with what happened here.       24        drug house, a search warrant at a drug house. I
25      Koda was not verbally called to release. He had to        25        believe the dog bit the wrong suspect. There was a




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 1        reason why he could not be recalled. I believe the           1        officer situation, led you to conclude that Officer
 2        door shut behind the dog and he wasn't able to recall        2        Allen could not control Koda with verbal commands?
 3        him, but the incidents that I was provided I did not         3   A.     Those are the cases that I can recall at this time.
 4        see any evidence that the officer was able to recall         4   Q.     Well, you keep saying those cases. Other than the
 5        the dog.                                                     5        Cameron police officer incident, what cases are you
 6   Q.     I'm not trying to ask a trick question. I'm just           6        talking about?
 7        trying to understand specifically rather than speaking       7   A.     Well, I'm still using the attic. You asked me not to
 8        in generalities.                                             8        use the attic so we'll discount that. The fact that he
 9   A.     Okay.                                                      9        deployed the dog on a juvenile is inconsistent with
10   Q.     Again, setting aside the Cameron police officer           10        training and policy.
11        situation, what other specific events or incidents          11   Q.     I'm only asking about the question of his ability to
12        involving Officer Allen and Koda lead you to conclude       12        verbally recall Koda. That's my specific question.
13        that Officer Allen could not control Koda with verbal       13   A.     Okay.
14        commands?                                                   14   Q.     Because you offer an opinion about that specific
15   A.     Those are the ones that I considered.                     15        subject. Other than the Cameron police officer
16   Q.     So other than the Cameron police officer incident, what   16        incident or situation, what other events relating to
17        other incidents involving Officer Allen led you to          17        Officer Allen and Koda lead you to conclude that he
18        conclude that he couldn't control Koda with verbal          18        could not recall Koda with verbal commands?
19        commands?                                                   19   A.     Just what I testified to. If we're not going to talk
20   A.     Even in this particular case --                           20        about the attic situation, that's all that I was able
21   Q.     Hang on a second. Without talking about this case,        21        to review, and that's the conclusion I came to.
22        what other -- I'll come to this case.                       22   Q.     Okay. So that was based on the attic situation
23   A.     Okay.                                                     23        involving Officer Carroll and the Cameron police
24   Q.     What other events or incidents or facts involving         24        officer situation, is that correct?
25        Officer Allen and Koda, other than the Cameron police       25   A.     If we're not talking about this case, yes.

                                                       Page 88                                                            Page 89
 1   Q. Okay. And what is it about the Cameron police officer          1   Q. Anything else about this specific incident that was
 2      event that tells you that Officer Allen was not able to        2      part of your or was part of your belief that Officer
 3      recall Koda with verbal commands?                              3      Allen can't control the dog with verbal commands?
 4   A. No. I -- as far as the dog is unpredictable.                   4   A. That's essentially the information that I used to
 5      Obviously, if the dog bit a fellow police officer, it's        5      conclude what I concluded.
 6      unpredictable and it demonstrates that Officer Allen           6   Q. And your opinion or belief that Koda is unpredictable
 7      did not have control over this dog.                            7      and dangerous, you talk about that in your report, yes?
 8   Q. And what about what happened with Mr. Davis tells you          8   A. I do.
 9      that Officer Allen could not control or recall Koda            9   Q. And you base that in part or you base that in your
10      with verbal commands?                                         10      report at least, as far as you use the written report,
11   A. Well, there's a number of factors. First of all,              11      on the incident involving the Cameron police officer,
12      Officer Allen said that he never attempted to recall          12      yes?
13      the dog at all which is, in my view, certainly a              13   A. One of the incidents, yes. Yeah.
14      problem. Secondly, he describes in his deposition the         14   Q. Well, that's the only one you talk about as -- never
15      out command on how to recall the dog by using the words       15      mind. Rather than characterizing your report, I'll
16      come out. And if you listen to the audio of this              16      just ask you: Other than that incident, what other
17      incident there were several times where he was yelling        17      incidents led you to conclude that Koda is
18      come out, come out, come out. And he claims that it           18      unpredictable and dangerous?
19      was to have Davis come out, but I'm not sure if the dog       19   A. Well, again, we have to go back to the -- regardless of
20      is trained to come out or be released based on the            20      who the handler is, we have to go back to the attic
21      words come out how he can distinguish between who the         21      situation where the dog was released into an attic and
22      handler is talking to. Certainly, if come out is the          22      the handler at the time wrote in his report or
23      command for the dog to come back to him, he certainly         23      testified that he had to physically climb into the
24      was saying this multiple times on the audio and               24      attic to get the dog to release the suspect. And
25      certainly the dog did not respond.                            25      throughout that he was giving, and I'm paraphrasing,




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 1        but he was giving commands and telling the suspect not       1      dangerous weapon.
 2        to move because the dog is trained to aggressively           2   Q. But the point in your report seemed to be that Koda was
 3        attack if you move. And that's pretty important. It          3      -- not just that canines are dangerous, but that Koda
 4        doesn't matter who the handler is. It depends on the         4      in particular was dangerous or am I misreading your
 5        dog's training and disposition is, at least in my view.      5      report?
 6   Q.     So other than the attic incident involving Officer         6   A. No, you read it correctly.
 7        Carroll and the Cameron police officer event, what           7   Q. Okay. So then going back --
 8        other facts or incidents led you to conclude that Koda       8   A. You can't -- if you accidentally discharge a firearm
 9        is unpredictable and dangerous?                              9      and shoot a police officer, it's pretty significant.
10   A.     Well, they allowed it to bite a juvenile as well, I       10      If you let your canine accidentally use -- accidentally
11        mean if we're adding to the list.                           11      bite another police officer, in my view the canine is
12   Q.     Well, is that -- is that part of your belief that Koda    12      unpredictable and uncontrollable.
13        was unpredictable and dangerous or is that part of your     13   Q. And so going back to the event with the juvenile, what
14        belief that he had been used inappropriately in prior       14      about that event led you or is part of your conclusion
15        incidents?                                                  15      that Koda is dangerous and unpredictable?
16   A.     I think -- I think you hit on it exactly. I think it's    16   A. Well, either the canine handler made a decision to
17        a combination of both the canine as well as the handler     17      allow the dog to unjustly bite an individual or the
18        making inappropriate decisions on the use of force.         18      canine was uncontrollable and bit him without the
19   Q.     So how was the incident with the juvenile reflective of   19      direction of the officer.
20        Koda being dangerous?                                       20   Q. I just want to understand your opinion.
21   A.     Well, a canine, by virtue of its training, is             21   A. I can appreciate that.
22        dangerous. They have the ability to deploy a huge           22   Q. Is the juvenile incident in some way reflective of Koda
23        amount of pressure, and any time that a canine bites        23      being unpredictable and dangerous or not?
24        somebody it can cause significant injuries to a person.     24             MR. STUDENT: Object to form. You can
25        So canines in general have to be treated as perhaps a       25      answer, if you can.


                                                       Page 92                                                           Page 93
 1   A. In that particular case, I believe it was the handler          1   Q. And so if I understand this section of your report
 2      that was responsible for the use of force. Every time          2      you're discussing these prior incidents because you
 3      the dog bites somebody or injures somebody it's the            3      believe they show that Officer Allen and other officers
 4      handler's responsibility. So is the dog dangerous,             4      routinely and consistently used Koda in a way that was
 5      yes. If a dog bites you under any circumstances it's           5      not reasonable, is that correct?
 6      perhaps dangerous. In this particular case, I believe          6   A. Well, based on the incidents that I reviewed, yes.
 7      the officer, the use of force on a juvenile was                7   Q. And --
 8      inappropriate for the facts and circumstances.                 8   A. And -- I'm sorry. And it's conflicting on how the dog
 9   BY MR. JONES:                                                     9      is trained. Is he trained to attack based on movement
10   Q. Other than the situation in the attic involving Officer       10      or is he trained to allow the suspect to walk with him
11      Carroll and the incident with the Cameron police              11      and return to the handler. So there was some -- the
12      officer, were there any other facts or events that led        12      two handlers, there was some confusion on what the dog
13      you to conclude that Koda is unpredictable and                13      is trained to do.
14      dangerous?                                                    14   Q. So you ultimately what is your point relative to the
15   A. Other than what we -- other than what we discussed,           15      incident with Mr. Davis with respect to these prior
16      that is the only information that I have.                     16      uses of Koda?
17   Q. So on page 10 of your report you start a discussion of        17   A. Well, I was surprised that Officer Allen had never even
18      prior deployments of Koda and you preface it by the           18      discussed the prior incident with Officer Carroll about
19      sentence that these incidents demonstrate that Koda was       19      in the attic situation. He testified that he never
20      used by Officer Allen and other members of the Barron         20      even discussed it with him. And I think it's important
21      County Sheriff's office in a way that routinely and           21      to understand how a canine is going to respond.
22      consistently disregarded the inherent risk, likelihood        22      Carroll was directing the suspect not to move or the
23      of excessive force, and the foreseeable danger                23      dog was going to attack him further and be more
24      associated with deploying Koda. Do you see where I am?        24      aggressive. On the other hand, Officer Allen is
25   A. Yes.                                                          25      telling the suspect to simply get up and walk out here.




                                                                                              24 (Pages 90 to 93)
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                                                     Page 94                                                             Page 95
 1        Which is it? What -- which way is the dog trained, is      1      or your belief that Koda had been misused in the past
 2        he trained to attack on movement or is he trained to       2      is evidence that he was misused in this instance?
 3        attack if somebody is not laying still and not -- and      3   A. I think it's predictable of what's going to happen in
 4        complying with their commands.                             4      the future. If the dog is misused in the past, I think
 5   Q.    So how, in your view, is it material or relevant to       5      it's foreseeable and predictable.
 6        your opinions relating to the Trevor Davis situation       6   Q. Well, the fact that these prior incidents had occurred
 7        that in your view Koda had been routinely and              7      made it more likely that Koda was going to be misused
 8        consistently used in a way that was unreasonable by his    8      by Officer Allen in this situation. Is that a fair
 9        handlers?                                                  9      statement of your opinion?
10   A.    Well, I think I -- I mean I don't know how many          10              MR. STUDENT: Object to form.
11        situations I need to describe. I described the            11   BY MR. JONES:
12        juvenile situation, I --                                  12   Q. Go ahead, sir.
13   Q.    I'm not asking you to describe the situations. I'm       13   A. I believe he was misused in this situation, yes.
14        asking you to tell me why it's important for your         14   Q. That's not my question. My question is: Do you
15        opinions about Trevor Davis that these past incidents     15      believe that these prior incidents made it more likely
16        had occurred?                                             16      that he was going to be misused in this situation?
17   A.    Well, it's important because like the juvenile Davis     17   A. I do.
18        was hiding, all right, passive resistance, and yet they   18   Q. So, briefly, on this these prior incidents the first
19        determined that the dog was going to attack and inflict   19      one was the situation in the attic with Officer
20        injury to the suspect. Regardless of Davis' reaction,     20      Carroll, correct?
21        whether he decided to comply or not, that dog was going   21   A. Yes.
22        to continue to inflict injury on him until he was         22   Q. That did not involve Officer Allen, correct?
23        physically removed by the handler. I mean it's very       23   A. Correct.
24        clear to me.                                              24   Q. And, briefly, why do you believe that Koda was used
25   Q.    So, in essence, is your point that the fact that Koda    25      unreasonably or that Koda was used in a way that

                                                     Page 96                                                             Page 97
 1      constituted excessive force in that event?                   1        used. The suspect had not committed a crime. There
 2   A. Well, they knew the suspect was in the attic. They           2        was -- the dog was released before the officer even
 3      released the dog to bite him, and it served no, in my        3        spoke to the alleged victim or the caller. And the use
 4      view, no legitimate law enforcement purpose at that          4        of force occurred before the officer even understood
 5      point to essentially have the canine go up into the          5        what had happened, whether or not a crime was
 6      attic and bite him. And if there was certainly, you          6        committed. So, again, it's another instance of an
 7      know, like the Davis situation if the officer believed       7        inappropriate use of force via the canine by the
 8      he was armed and dangerous, a few minutes later Officer      8        handler.
 9      Carroll climbed up in the attic and physically engaged       9   Q.    Was there a problem with the recall of Koda in this
10      the suspect so it makes no sense. Either you believe        10        instance?
11      the suspect is armed and you're going to act                11   A.    Give me one second, if you don't mind, for me to
12      accordingly or you don't. And if you don't believe          12        refresh my memory. Okay. I'm sorry. If you --
13      he's armed then that would be reasonable to climb up in     13   Q.    Sure. With the Enersen situation in July of 2018, was
14      the attic and handcuff him and drag him down, as is         14        there any problem with Officer Allen's ability to
15      what happened with the Carroll situation.                   15        recall Koda after he had been deployed?
16   Q. The second incident you talk about was from July 2018,      16   A.    It doesn't sound like he did.
17      this one involving Officer Allen and a subject by the       17   Q.    I'm -- I'm sorry. What are you saying?
18      name of Enersen, correct?                                   18   A.    There's no evidence that he verbally recalled him. He
19   A. That's correct.                                             19        said I did remove my canine from the suspect and he was
20   Q. E-n-e-r-s-e-n?                                              20        taken into custody. There is no indication that he
21   A. That's correct.                                             21        verbally recalled the dog. I read that to understand
22   Q. Was there a problem with Officer Allen's ability to         22        -- it was my understanding by reading that is that he
23      release or recall Koda in this situation?                   23        physically removed the dog from the suspect before the
24   A. Thank you for bringing this up. I forgot about this         24        suspect was taken into custody.
25      incident. But, again, the canine should not have been       25   Q.    So --




                                                                                              25 (Pages 94 to 97)
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                                                    Page 98                                                              Page 99
 1   A. So this is, in my view, further evidence that the dog      1        And it served, in my view, no legitimate law
 2      was not trained to verbally release suspects.              2        enforcement purpose to allow the dog to simply bite
 3   Q. And that conclusion in this incident is based on the       3        somebody. It didn't change whether or not the guy had
 4      words, quote, I did remove my canine from the suspect,     4        a weapon in his hand or didn't have a weapon in his
 5      end quote?                                                 5        hand. It was simply indiscriminate use of canine force
 6   A. That's correct.                                            6        that was unnecessary.
 7   Q. The third incident you talk about is the situation with    7   Q.     The next incident you talk about is the July 2018
 8      the juvenile, correct, from June of 2017?                  8        situation involving the Cameron police officer,
 9   A. That's correct.                                            9        correct?
10   Q. And that involved Officer Carroll, not Officer Allen?     10   A.    That's correct.
11   A. That's my understanding, yes.                             11   Q.     And forgive me, I don't want to cover a territory we've
12   Q. And was there a problem with the recall of Koda in that   12        already gone over, but there wasn't a problem with the
13      instance?                                                 13        recall of Koda in this instance, was there?
14   A. I don't think there was a problem with the recall, no.    14   A.     Perhaps there would have been. If he saw him charging
15   Q. And I understand you believe that the use of Koda in      15        towards a uniformed officer, he should have had the
16      the first instance was unjustified and constituted        16        ability to verbally recall him.
17      excessive force, correct?                                 17   Q.     Well, I guess my question is not can we theorize about
18   A. I do believe that, yes.                                   18        possible problems, but are you aware of a problem with
19   Q. And can you explain briefly why?                          19        the recall of Koda in this instance?
20   A. Well, first of all, the suspect was a juvenile. They      20   A.    Well, let me phrase it like this . . . Certainly the
21      had information that it was a juvenile. The suspect       21        dog was not recalled prior to biting the police officer
22      was hiding in a bathroom cabinet under a sink. It had     22        is all I know about the situation.
23      no ability to flee, to fight, to do anything other than   23   Q.     And do you know anything about how it came to be that
24      to surrender. And they indiscriminantly allowed the       24        Koda ripped the officer's pants?
25      dog to bite the kid. I don't understand the rational.     25   A.    Yes. I mean I read the police report. I have a


                                                  Page 100                                                             Page 101
 1      general understanding of what occurred.                    1      in your view, in that instance?
 2   Q. So what occurred?                                          2   A. Well, the dog bit somebody that was not a suspect and
 3   A. They were doing a building search on a school. The dog     3      was not wanted for a felony.
 4      was released up on the second floor. The officer,          4   Q. Any other reason?
 5      according to the report, was in an area that, quote, an    5   A. I think that's the reason.
 6      officer should not have been there. When the dog           6   Q. You talk in your report about find and bite versus bark
 7      approached the officer made a quick reaction, and the      7      and hold, yes?
 8      dog bit the officer is my understanding.                   8   A. I do.
 9   Q. The last incident you talk about is from February of       9   Q. In 2019 was there an industry standard with respect to
10      2020 with a Dale Nedlund, correct?                        10      which of those techniques would be employed or trained
11   A. That's correct.                                           11      relative to canines?
12   Q. N-e-d-l-u-n-d. Was there a problem with the release or    12   A. I'm not sure of 2019, if there was or not.
13      recall of Koda in that instance?                          13   Q. Is there one now?
14   A. Well, he was not able to recall the dog, yes.             14   A. No. I think there is still a gray area between what is
15   Q. And that's because the door had closed behind Koda?       15      the right method. And I don't think that there is
16   A. Whatever the circumstances were, it's an officer's        16      necessarily an industry standard at this point, based
17      responsibility, if he's going to release a dog, to        17      on bark and hold. I do know anecdotally that there is
18      control him. Certainly, the fact that the door shut       18      departments throughout the country that are no longer
19      behind him was one of the factors that prevented him      19      allowing their dogs to search for individuals off
20      from recalling the dog.                                   20      leash. I believe the Seattle Police Department
21   Q. Was there a situation in that event where Officer Koda    21      implemented a policy a few years ago that prohibits
22      [sic] directed Koda to release a bite and Koda didn't     22      other canine handlers to release their dogs off leash
23      do so?                                                    23      because of the unpredictability of the dog and the
24   A. I don't have that information. I don't know.              24      likelihood that the dogs can use force, regardless of
25   Q. And why was the use of Koda excessive or unreasonable,    25      whether or not the suspect surrenders or not.




                                                                                          26 (Pages 98 to 101)
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                                                  Page 102                                                            Page 103
 1   Q. Is the find and bite method you describe it in your        1      was the more commonly used technique?
 2      report as quote/unquote more common. Do you recall         2   A. I can't cite a national study or survey that would
 3      that?                                                      3      allow me to answer that question pointing to an
 4   A. I would say based on my experience it's more common        4      authority. I can say anecdotally, based on my
 5      yes.                                                       5      experience, that the find and bite was more common.
 6   Q. And was that the case in 2019, that it was more common     6   Q. And is that still true today?
 7      among police officers using canines to deploy them         7   A. I would say so, yes.
 8      using the find and bite method?                            8   Q. And there are recognized drawbacks to the bark and hold
 9   A. I would say it was more common to use the find and bite    9      technique, correct?
10      method, but also every find and bite has to be looked     10   A. There are.
11      at critically and has to be assessed on the merits on     11   Q. And what are they?
12      whether or not it was reasonable.                         12   A. Essentially, the drawback is you're allowing the dog to
13   Q. Neither standard or neither technique is per se           13      make a decision on whether or not force is going to be
14      constitutional or per se unconstitutional, correct?       14      used. If the suspect -- the dog is trained to bark and
15              MR. STUDENT: Object to form. You can              15      hold, and if the suspect moves he's supposed to attack.
16      answer.                                                   16      So essentially the theory is that the bark and hold
17   A. I would agree.                                            17      method you're allowing the dog to make the use of force
18   BY MR. JONES:                                                18      decision versus the officer.
19   Q. It's always going to be under weather the totality of     19   Q. Are there any other recognized drawbacks?
20      the circumstances the particular deployment was           20   A. I'm sure there are, but that's the most important one I
21      reasonable or objectively reasonable or not objectively   21      think from my perspective.
22      reasonable, correct?                                      22             MR. JONES: Okay. Why don't we go ahead and
23   A. Exactly. Yes.                                             23      take that break.
24   Q. But in 2019 do you agree that among the departments       24             (Brief recess.)
25      using canines that the find and bite method was more --   25   BY MR. JONES:


                                                  Page 104                                                            Page 105
 1   Q. Mr. Tiderington, you said you have a copy of your          1        were with that department?
 2      report, correct?                                           2   A.     That's correct.
 3   A. I do.                                                      3   Q.     And you say you retired a couple weeks ago?
 4   Q. So does that include the appendices as well?               4   A.     I did.
 5   A. It does.                                                   5   Q.     Congratulations?
 6   Q. So appendix one, which I will mark separately as           6   A.     Thank you.
 7      Exhibit 2, you have that in front of you, your CV?         7   Q.     In your retirement do you have employment other than
 8   A. I do.                                                      8        working as an expert or consultant on cases?
 9   Q. And that copy of your CV, is that current and complete     9   A.     No, I do not.
10      as of today?                                              10   Q.     And Plymouth Township, is that Suburban Detroit?
11   A. No. Since I did this I've retired as the Chief of         11   A.     It is.
12      Police about two weeks ago. So that would have to be      12   Q.     And how big of a department is it, in terms of
13      amended.                                                  13        officers?
14   Q. And that's you retired from Plymouth Township Police      14   A.     We have some 50 employees, 30 to 32 sworn officers,
15      Department?                                               15        depending on the budget.
16   A. I did.                                                    16   Q.     And what was the command structure underneath you as
17   Q. Okay. Other than that, is appendix one to your report,    17        chief.
18      your CV, current and complete?                            18   A.     I had two assistant chiefs, well, actually one
19   A. Yes.                                                      19        assistant chief, a lieutenant, four or five sergeants,
20   Q. And I understand you had been with Plymouth Township      20        and detectives and patrol officers.
21      for 21 years, approximately?                              21   Q.     And why did you retire?
22   A. Approximately, 20 years as the police chief, yes.         22   A.     Isn't 44 years enough? That's a very good reason. No.
23   Q. Were you hired as the police chief?                       23        It was after 20 years as a police chief I felt it was
24   A. I was.                                                    24        time to retire.
25   Q. And so that was your title or role the entire time you    25   Q.     Were you --




                                                                                        27 (Pages 102 to 105)
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                                                  Page 106                                                          Page 107
 1   A. On my own terms, just to be clear about that.              1   Q. All right. And the Plymouth Township Police
 2   Q. Were you ever disciplined in any way as the chief of       2      Department, during your tenure as chief, were the
 3      police for Plymouth Township?                              3      canine officers trained to use the bark and hold or the
 4   A. I was not.                                                 4      bite and hold technique?
 5   Q. Were you ever sued for -- well, let me strike that.        5   A. Bite and hold.
 6             Police chiefs get sued lots of times simply         6   Q. And the officers who worked as the canine officers
 7      for being the police chief, yes?                           7      where did they receive their canine training?
 8   A. That's correct.                                            8   A. Here in Michigan. I don't -- there was a couple
 9   Q. Did you ever get sued for anything you actually            9      different licensing. There was a training facility
10      personally were involved in?                              10      nearby, and it was part of the consortium of canine
11   A. Not personally involved in. I mean in my capacity as a    11      handlers through various departments that would do
12      police chief I've been named in lawsuits.                 12      monthly training exercises and certifications.
13   Q. But nothing that you personally did or didn't do?         13   Q. And do you recall specifically the name of the entity
14   A. Not in my capacity as police chief, no.                   14      or organization that did the initial training for your
15   Q. And did Plymouth Township have canine officers?           15      canine officers?
16   A. We did.                                                   16   A. You know, I don't. There was a couple different ones,
17   Q. How many?                                                 17      but I don't recall as we sit here today.
18   A. We had two canine officers.                               18   Q. And did you, as chief of police, have a role in
19   Q. Was that true the entire 20 years you were there?         19      training those officers, those canine officers at
20   A. That was throughout the 20 -- two different canine        20      Plymouth department, Plymouth Township Police
21      officers throughout that 20 year period. I think we       21      Department?
22      had a total of three different dogs.                      22   A. Well, I had a role in setting policies and procedures.
23   Q. Okay. And so at any given time during your time as        23      Certainly I did not provide canine training. I
24      police chief was there one canine officer at a time?      24      attended canine training, and witnessed it, and
25   A. Yes.                                                      25      participated to some extent, but I was not a canine

                                                  Page 108                                                          Page 109
 1      trainer, if that's the question.                           1   Q. And how many times was that true?
 2   Q. That was the question. And you said you -- did you         2   A. Maybe a dozen times or eight to 10 times, not
 3      attend canine training while you were the chief of         3      frequently.
 4      police in Plymouth?                                        4   Q. And in those instances what was your role on scene?
 5   A. I have.                                                    5   A. Well, obviously I was, you know, the ranking command
 6   Q. And is that in an observer role or was there some other    6      officer, but the practical decision of what to do was
 7      role you had in those training sessions?                   7      left up to the sergeant and the canine handler.
 8   A. Observer, but they also got me to put the sleeve on and    8   Q. How did it come to be that as chief of police you were
 9      I've done that on several occasions.                       9      in the field for those however many it was deployments
10   Q. Okay. Other than watch the training, did you              10      of a canine?
11      otherwise, and I guess being bitten, did you otherwise    11   A. Again, I remember specifically a couple where they were
12      participate in the training sessions that you attended    12      searching for a suspect, and I was leaving a meeting,
13      as chief?                                                 13      and I was close by, and I would often times respond. I
14   A. Well, participated in the extent of developing policies   14      kind of consider myself to be a hands-on chief, and I
15      on how canines would be used and what review and          15      would respond to various incidents. Again, not a lot
16      assessments we would make, but not part of the            16      -- and, again, that's over 20 years. So eight to 10
17      day-to-day or monthly training exercises, I was not       17      times over 20 years I was not a frequent flyer on calls
18      part of that.                                             18      for service.
19   Q. And as chief of police were you ever out of the field     19   Q. And I understand that you were with the Fort Lauderdale
20      with officers when one of the department's canines was    20      Police Department for the 20 years before you went to
21      deployed?                                                 21      Plymouth?
22   A. I have been, yes.                                         22   A. For 21 or 22, yes.
23   Q. That was while you were in Plymouth or with the           23   Q. Roughly 1981 to 2001?
24      Plymouth Police Department?                               24   A. Almost 2002. I think November of 2001 I guess.
25   A. Correct.                                                  25   Q. And what was your rank when you were hired?




                                                                                      28 (Pages 106 to 109)
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                                                    Page 110                                                           Page 111
 1   A. I was hired as a patrol officer.                             1   A. That is correct.
 2   Q. And what was your rank when you left Fort Lauderdale?        2   Q. And did the Fort Lauderdale Police Department have a
 3   A. I retired as a police captain in charge of special           3      canine unit?
 4      investigations.                                              4   A. Yes, we did.
 5   Q. And when you left Fort Lauderdale was that a                 5   Q. Were you ever part or assigned to that canine unit?
 6      retirement?                                                  6   A. I was in charge of some of the canines in Fort
 7   A. It was.                                                      7      Lauderdale, not assigned necessarily specifically to
 8   Q. You had years of service on years of service and age to      8      the canine unit, but I had had canine officers working
 9      be able to retire?                                           9      directly under my command.
10   A. It just required age of service.                            10   Q. And working off of the bullet points from your CV
11   Q. Okay.                                                       11      relating to your time in Fort Lauderdale what
12   A. I'm sorry. Number of years of service. Twenty and out       12      assignment was it where you or which assignments, if
13      is what I'm trying to explain.                              13      there's more than one, where you had some supervisory
14   Q. On pages 25 and 26 of your CV you list information          14      responsibility for officers who were assigned to the
15      about when you were with the Fort Lauderdale Police         15      canine unit?
16      Department?                                                 16   A. Well, both as a patrol sergeant we -- Lauderdale had
17   A. Correct.                                                    17      quite a large canine unit. I think we had eight or 10
18   Q. And at least my read of those bullet points is sort of      18      canines at the time and handlers. So I would
19      a chronology of your time and assignments?                  19      frequently utilize canines as part of my patrol
20   A. That's correct.                                             20      responsibilities. Later on as a supervisor in charge
21   Q. When you were with that department?                         21      of the special investigations I had a number of canines
22   A. Correct.                                                    22      and canine handlers assigned directly to me that were
23   Q. Starting with the police academy and then running up        23      cross trained as drug dogs as well as a normal patrol
24      through what you've already described being a captain       24      dog as well.
25      in special investigations?                                  25   Q. And so when you had officers under your supervision who


                                                    Page 112                                                           Page 113
 1        were canine officers did your role include sort of         1        you were involved personally in a decision to deploy a
 2        supervising deployments of those dogs?                     2        canine when you were with Fort Lauderdale?
 3   A.     Absolutely.                                              3   A.    I mean it's a guess. I mean it was I would say 50 to a
 4   Q.     Was that true both as a patrol sergeant and as a         4        hundred times. I know that doesn't narrow it down, but
 5        captain in special investigations?                         5        in a 21 year career and we utilized canines pretty
 6   A.     Well, more so -- well, both, but more so as a patrol     6        frequently in Fort Lauderdale for various things.
 7        sergeant we had to make decisions on whether or not to     7   Q.    Did you ever undergo training to be certified, if
 8        deploy the canine. And in our department at that time      8        that's the right word, as a canine officer yourself?
 9        the ranking officer was in charge of making any            9   A.    No.
10        decision relating to the use of a canine. Later when I    10   Q.    Is that the right term of art?
11        became the special investigations commander the same      11   A.    Yes.
12        thing, I was in charge of policy, canine policy as well   12   Q.    Were you ever disciplined, during your time with the
13        as review of the use of canines during deployments.       13        Fort Lauderdale Police Department?
14   Q.     How often is a -- how long were you a patrol sergeant   14   A.    I was not.
15        with Fort Lauderdale?                                     15   Q.    Were you ever sued?
16   A.     I made several different stops there. I was a patrol    16   A.    I think there were a couple lawsuits. But, again, it
17        officer there for, I don't know, three or four years.     17        had nothing to do specifically with me personally. It
18        I did several stints as a patrol sergeant. I was then     18        was -- but I was named in maybe two or three different
19        -- when I was promoted I went back as a patrol captain    19        lawsuits in Fort Lauderdale.
20        if you will who was in charge of a district. And so       20   Q.    Do you recall what those were about?
21        hard to say specifically, but throughout my career I      21   A.    I know what one was about. One of our confidential
22        probably served five or six years in patrol division.     22        informants was kidnapped in Columbia and she sued -- at
23   Q.     And were you ever a canine officer yourself?            23        that time I was assigned to the drug enforcement
24   A.     I was not.                                              24        administration. She sued the DEA, and I was named,
25   Q.     And is it possible for you to estimate how many times   25        initially named, and then I was removed from the




                                                                                         29 (Pages 110 to 113)
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                                                     Page 114                                                              Page 115
 1        complaint, but I was named in that lawsuit for failing       1        -- and it was primarily a canine command decision on
 2        to protect her.                                              2        what dogs would be released from the lead or what dogs
 3   Q.     Do you recall what the others were about?                  3        would always be on a lead doing searches.
 4   A.     No, I don't offhand. I don't believe any of them were      4   Q.     I think we covered this, but in your career as a police
 5        ever -- I believe all of them were dismissed, but I          5        officer were you ever -- did you ever work or were you
 6        don't remember specifically.                                 6        ever assigned to a canine unit?
 7   Q.     And you worked in Detroit for the Detroit Police           7   A.    I was not. Well, let me clarify did I ever work, all
 8        Department for --                                            8        right.
 9   A.     I did.                                                     9   Q.     Let me ask the question differently. I understand your
10   Q.     -- two or three years at the end of -- in the late        10        point. Were you ever, in your career as a police
11        '70s?                                                       11        officer, were you ever assigned to a canine unit?
12   A.     I did, yes.                                               12   A.    I was not.
13   Q.     And was that as a patrol officer?                         13   Q.    And you never worked as a canine officer yourself,
14   A.     Yes.                                                      14        correct?
15   Q.     And were you ever assigned as a canine officer with the   15   A.    That's correct.
16        Detroit PD?                                                 16   Q.    In Wisconsin when you become a certified law
17   A.     I was not.                                                17        enforcement officer you get a certification from the
18   Q.     By the way, Fort Lauderdale, its canine unit, were        18        state of Wisconsin certifying that you've completed the
19        those officers and dogs trained with the bark and hold      19        necessary training?
20        or bite and hold technique?                                 20   A.    Right.
21   A.     At the time it was primarily bite and hold.               21   Q.    So in that sense in what states have you been certified
22   Q.     When you say primarily that suggests that there was a     22        as a law enforcement officer?
23        mix?                                                        23   A.    Certified in the state of Michigan and also the state
24   A.     Well, I'm suggesting that because it depended on the      24        of Florida.
25        dog as well. There were some dogs that would not even       25   Q.     I understand you have an associate's degree from Mercy


                                                     Page 116                                                              Page 117
 1      College of Detroit?                                            1        in a table what I understand to be training that you
 2   A. That's correct.                                                2        have provided as a trainer?
 3   Q. What year?                                                     3   A.     As a trainer, yes.
 4   A. Probably -- I should know this, right? 1978, '79, I            4   Q.     And you list various trainings or venues for training
 5      think.                                                         5        on page 22 through 24, correct?
 6   Q. And what year did you get your bachelor's from Florida         6   A.     Correct.
 7      Atlantic?                                                      7   Q.     And that's all training you provided?
 8   A. Probably 1982.                                                 8   A.     It is.
 9   Q. And I understand you went to a command officers                9   Q.     And did any of those training programs that you
10      development program at the University of Louisville           10        provided cover the use of canines?
11      Southern Police Institute?                                    11   A.     I think -- no, not the use of force by canine, but
12   A. That's correct.                                               12        canine as it relates to drug investigations and
13   Q. And what year was that?                                       13        establishing probable cause, but not specifically for
14   A. That would have been 1990, '88 or, I'm sorry, '89 or          14        canine handling or search and seizure protocols.
15      '90, I believe.                                               15   Q.     Then you list a number of subjects or areas of
16   Q. You also mentioned in your CV that you had over 2,000         16        instruction that you have given on pages 24 through 25,
17      hours of advanced police training and leadership              17        correct?
18      classes as part of your in-serviced training as an            18   A.     Correct.
19      officer?                                                      19   Q.     I don't see canine or canine deployments, use of force
20   A. That's correct.                                               20        by canines listed, correct?
21   Q. Do you have a written record of the course subjects in        21   A.     That's correct.
22      which you have received in-service training as an             22   Q.     And is it fair to say that you have not provided
23      officer?                                                      23        training or instruction yourself relative to the
24   A. I do not have a written record of that.                       24        deployment or use of force with a canine?
25   Q. On pages 22 through 25 of your CV you describe or list        25   A.     That is correct.




                                                                                            30 (Pages 114 to 117)
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                                                  Page 118                                                          Page 119
 1   Q. Have you ever completed, that is as a trainee, any         1   A. No, I was not able to do that.
 2      training in the state of Wisconsin?                        2   Q. Are you familiar with the manual, that's my word, with
 3   A. No.                                                        3      respect to use of force as it's presented to recruits
 4   Q. Have you ever given any training, so as a trainer, in      4      here in Wisconsin?
 5      the state of Wisconsin?                                    5   A. I don't believe I reviewed that, no.
 6   A. I don't think so.                                          6   Q. In appendix two to your report that I've marked or will
 7   Q. And I assume this is true, but if you could confirm you    7      mark as Exhibit 3 you provide a list of prior
 8      have not gone through the police academy here in           8      testimony, correct, as an expert?
 9      Wisconsin?                                                 9   A. Testimony and/or other cases that I've been involved
10   A. I have not.                                               10      in. Some of the cases listed I haven't necessarily
11   Q. And do you have any knowledge as to the substance of      11      testified either at trial or deposition.
12      what is trained in the police academy here in             12   Q. So just looking at each one individually quickly, this
13      Wisconsin, other than your general knowledge as a law     13      first one is state of Florida -v- Waite, W-a-i-t-e,
14      enforcement officer with 40 years of experience?          14      from this year, correct?
15   A. A general understanding. I did go on the state            15   A. Correct.
16      certification website, I forget what it is at this        16   Q. You have testified there and it was by deposition?
17      point, and I believe the training standard is 486 hours   17   A. That's correct.
18      or 476 hours, and the standards were pretty consistent    18   Q. Do you have a copy of that transcript yourself?
19      with my understanding of standards nationwide.            19   A. I do not.
20   Q. So you were able to review just general standards         20   Q. And you were hired by the lawyer who's listed at the
21      relating to the training academy here in Wisconsin?       21      bottom of the box relating to this case?
22   A. I did, yes.                                               22   A. Yes.
23   Q. Were you able to review the specific or the substance     23   Q. And so you were retained on the defense side of that
24      of any of the training modules as they are presented to   24      criminal case?
25      recruits here in Wisconsin?                               25   A. That's correct.

                                                  Page 120                                                          Page 121
 1   Q. And what's the nature of your work as an expert in that    1      canine.
 2      case, what's the issue that you're addressing?             2   Q. Okay. Thank you. The other case from 2021 or another
 3   A. Police practices.                                          3      case from 2021 is the BBK Tobacco case?
 4   Q. And does that case involve --                              4   A. That's correct.
 5   A. Use of force.                                              5   Q. You were retained by the defense?
 6   Q. Does that case involve the deployment or use of force      6   A. That's correct.
 7      by canine?                                                 7   Q. And you gave deposition testimony?
 8   A. No, it does not.                                           8   A. I did.
 9   Q. The second case you list is from 2021, that's              9   Q. Do you have a copy of that transcript?
10      Guttenberg versus the United States, correct?             10   A. I don't believe I do.
11   A. That's correct.                                           11   Q. What does that case involve or about?
12   Q. You're retained by the Department of Justice?             12   A. It's a trademark violation case, trademark
13   A. That's correct.                                           13      infringement.
14   Q. On behalf of the defense, correct?                        14   Q. The next case you list is also from 2021 dated Bailey?
15   A. That's correct, yes.                                      15   A. That's correct.
16   Q. You have not testified in that case?                      16   Q. You were retained by the plaintiff in that case?
17   A. I have not.                                               17   A. That's correct.
18   Q. And what is that case about?                              18   Q. And you have given testimony by deposition?
19   A. It involves the Parkland High School shooting, and the    19   A. Yes.
20      family members of the deceased sued the FBI, Department   20   Q. What does that case involve or what is it about?
21      of Justice for not following up on specific tips that     21   A. Use of force, inappropriate use of force by the San
22      were provided about the potential shooting.               22      Antonio Police Department.
23   Q. That case does not involve the deployment or use of       23   Q. But not involving the use or deployment of a canine?
24      force by a canine, correct?                               24   A. No.
25   A. No. None of the cases listed have anything to do with     25   Q. The next case from 2021 is Jane Doe versus two




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                                                      Page 122                                                            Page 123
 1        corporate entities, correct?                                 1   Q.    And that's a criminal matter?
 2   A.     That's correct.                                            2   A.    It is. Yes, it is.
 3   Q.     And you were retained by the plaintiff in that case?       3   Q.    And it did not involve the use of a canine, correct?
 4   A.     Yes.                                                       4   A.    Correct.
 5   Q.     And you've testified by deposition?                        5   Q.    And then the last one Alvarez-Mena versus Miami Dade
 6   A.     That's correct.                                            6        County and some individuals from 2015, yes?
 7   Q.     Do you have a copy of that transcript?                     7   A.    Yes.
 8   A.     I don't think I do. I don't think I have any               8   Q.    And you testified by deposition?
 9        transcripts of my deposition, but I'll have to verify        9   A.    I did. Yeah, deposition.
10        that. If I do, I'll provide it to my counsel or the         10   Q.    For the plaintiff or plaintiffs?
11        counsel and he can provide it to you, if you like?          11   A.    Correct.
12   Q.     Thank you. And that case involves a premises liability    12   Q.    And that case involved police practices, but not the
13        claim?                                                      13        use or deployment or use of force by canine?
14   A.     Yes.                                                      14   A.    Correct.
15   Q.     Not involving the use of canine or deployment of a        15   Q.    The list here on pages 30 through 33 in appendix two to
16        canine?                                                     16        your report, is that a complete list of all of the
17   A.     Correct.                                                  17        cases you have worked on as an expert since 2015, I
18   Q.     And then the last two cases, one from 2016 and one from   18        guess aside from this case?
19        2015, the first one from 2016 United States versus          19   A.    No. It's actually a listing of cases that I either
20        Olivares?                                                   20        testified in either deposition or trial.
21   A.     Correct.                                                  21   Q.    Okay. Well, I guess I asked the question that way
22   Q.     You were retained by the defense in that case?            22        because at least one of these cases you didn't testify
23   A.     I was.                                                    23        in.
24   Q.     And you testified at trial?                               24   A.    I notice that. And it was actually an oversight.
25   A.     At a hearing.                                             25   Q.    So if I understood from the narrative in your CV, you


                                                      Page 124                                                            Page 125
 1        have been working as an expert or a consultant for           1      chief of police?
 2        about the last five years?                                   2   A. Oh, it was a part-time nights and weekend job
 3   A.     That's correct.                                            3      essentially, and I would take maybe one or two cases a
 4   Q.     So roughly back to 2015, the first case you've listed?     4      year. So it was a very small percentage of time spent
 5   A.     I believe -- well, I did another case maybe in 2005 or,    5      versus my full time capacity as a police chief.
 6        I'm sorry, when I was still in Fort Lauderdale. So it        6   Q. Appendix two also includes your fee schedule, correct?
 7        would have been before 2001, but primarily from about        7   A. It does.
 8        2015, yes.                                                   8   Q. Have you ever sent or provided to Mr. Student an
 9   Q.     And, approximately, how many cases have you served as      9      invoice for your work in this case?
10        an expert in, other than the ones that are listed in        10   A. I have.
11        appendix two to your report?                                11   Q. How many times?
12   A.     Probably 30 to 40 cases.                                  12   A. Well, let me clarify. I received a retainer and I have
13   Q.     Did any of those cases involve the deployment of a        13      an -- I believe I have an invoice that needs or that
14        canine or a use of force by a canine?                       14      will be sent out at the end of July.
15   A.     No.                                                       15   Q. Okay. Have you -- aside from the retainer, have you
16   Q.     How many other cases are you serving as an expert in,     16      actually sent any invoices as of today?
17        currently?                                                  17   A. I don't think so.
18   A.     I don't have the exact number, but somewhere around 20    18   Q. And does that invoice account for all of your hours
19        to 25 cases.                                                19      spent as an expert in this case?
20   Q.     In the time period that you were serving as an expert     20   A. It will, yes.
21        while you were still employed as the chief of police in     21   Q. Do you have any -- do you know how many hours you spent
22        Plymouth?                                                   22      in the case up through signing your written report in
23   A.     Correct.                                                  23      the case?
24   Q.     What percentage of your professional time was spent as    24   A. I don't know offhand. I mean I know we're going to
25        an expert witness relative to your professional time as     25      take a break and I can get those numbers for you, if




                                                                                            32 (Pages 122 to 125)
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                                                    Page 126                                                            Page 127
 1      you like.                                                    1      was a very brief conversation.
 2   Q. Your invoice, that will account for hours spent in           2   Q. I'm going to share my screen one last time. Are you
 3      reviewing materials and preparing your report, correct?      3      able to see the screen, Mr. Tiderington?
 4   A. That's correct.                                              4   A. I can, yes.
 5   Q. And it will account for hours you spent preparing for        5   Q. I'm showing you what I'll mark as Exhibit 9.
 6      today's deposition?                                          6   A. Right.
 7   A. It will, yes.                                                7   Q. Which is a nine page document that Mr. Student sent to
 8   Q. And what did you do to prepare for today's deposition?       8      me of communications between you and him.
 9             MR. STUDENT: I'll object to the extent it             9   A. Okay.
10      calls for expert work product or expert and attorney        10   Q. Have you seen -- well, you can only see one at a time
11      communications.                                             11      and I'm happy to scroll through, but let's just --
12   BY MR. JONES:                                                  12   A. I've reviewed those, if that is the question.
13   Q. I do not want to hear about what you and Mr. Student        13   Q. Thank you. And I'm happy to scroll through them, if
14      may have discussed to prepare. I just want to know the      14      you need me to answer these questions, but aside from
15      activities you engaged in to prepare for the                15      these nine pages have you and Mr. Student had any other
16      deposition.                                                 16      communications in writing relating to your compensation
17   A. I essentially reviewed my report and the other material     17      for your work?
18      that was provided to me.                                    18   A. No. Other than the retainer agreement.
19   Q. Did you review anything, other than your written report     19   Q. And other than these nine pages, and again I'm happy to
20      or the material that's listed I think in appendix three     20      scroll through them if you want me to, have you and Mr.
21      to your report, in preparing for your deposition today?     21      Student had any communications in writing in which he
22   A. I reviewed some case law.                                   22      identified facts or data for you to rely on in doing
23   Q. Aside from case law?                                        23      your work and forming your opinions?
24   A. That was pretty much it. I had a conversation with Mr.      24   A. No.
25      Student, but other than that -- and, quite frankly, it      25   Q. And are there any other communications in writing


                                                    Page 128                                                            Page 129
 1        between you and Mr. Student in which he identified         1   A.     But --
 2        assumptions for you to rely on in doing your work and      2   Q.     Are you --
 3        forming your opinions?                                     3   A.     I'm sorry?
 4   A.     No.                                                      4   Q.     I don't want to cut you off. Go ahead.
 5   Q.     On page two of Exhibit or what I'll mark as Exhibit 9    5   A.     No, that's fine.
 6        is an e-mail from Mr. Student to you back in March of      6   Q.     Are you aware of any other timeline that Mr. Student
 7        this year, yes?                                            7        provided to you, beside what's on the screen on page
 8   A.     That's correct.                                          8        three of Exhibit 9?
 9   Q.     And he refers to a timeline of events that he was        9   A.     No.
10        providing you, yes?                                       10   Q.     And lastly, on page eight of the exhibit in that first
11   A.     Yes.                                                    11        paragraph of this e-mail from June 7th Mr. Student
12   Q.     And so page three of the report or page three of this   12        refers to a spreadsheet of the items that he had
13        exhibit, is that the timeline that he was referring to    13        provided for review that he was attaching to this
14        in the prior page?                                        14        e-mail. Do you see that?
15   A.     With the Bates stamp 00067?                             15   A.     Yes.
16   Q.     Yes.                                                    16   Q.     If I go to the next page, I'll flip -- I'll rotate it
17   A.     Yes, I believe that was provided to me.                 17        if you need me to, but is that the spreadsheet that he
18   Q.     The question is: This timeline or this chronology of    18        was referring to in the prior e-mail?
19        events, is that the timeline that Mr. Student was         19   A.     I believe it is, yes.
20        referring to in this March 10th e-mail on page two?       20                MR. JONES: Okay. Give me just a second.
21   A.     I'm assuming it was. I created my own timeline so       21        Thank you, Mr. Tiderington. That's all the questions I
22        based on that I'm sure it was provided to me. But,        22        have.
23        like I said, if you look at my timeline it's somewhat     23                THE WITNESS: Thank you, sir.
24        different than his.                                       24                MR. STUDENT: I would like to take a 10
25   Q.     I understand.                                           25        minute break and review everything to see if I have any




                                                                                         33 (Pages 126 to 129)
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                                                    Page 130                                                             Page 131
 1      follow-up questions here. Is that okay?                       1   Q. And so in your training and experience are you
 2             MR. JONES: That's fine with me.                        2      confident you can provide opinions as to whether a
 3             (Brief recess.)                                        3      suspect is fleeing or whether a suspect is presenting
 4   EXAMINATION BY MR. STUDENT:                                      4      any sort of threat to an officer's safety?
 5   Q. I guess I just want to ask a couple quick questions,          5   A. I can, yes.
 6      chief. First, was there any evidence that you reviewed        6   Q. And is that something you've done over your career?
 7      and that was provided to you that suggested that Mr.          7   A. Certainly.
 8      Davis was not surrendering from the moment in time Koda       8   Q. Okay. In your capacity as a chief?
 9      began to bite him?                                            9   A. As a command officer, as a police chief, as a patrol
10   A. No. I believe he was surrendering, yes.                      10      supervisor throughout my career it's something I would
11   Q. In your extensive training and experience are you            11      do on a daily basis, evaluate the appropriateness of
12      familiar with the factors that would lead an                 12      police tactics or use of force.
13      objectively reasonable officer to conclude that a            13   Q. Okay. And in your training as an officer and/or a
14      suspect is fleeing?                                          14      chief did you ever receive information or instruction
15   A. Is fleeing, yes, I'm familiar with those factors.            15      regarding how to determine if a suspect is fleeing?
16   Q. And you're able to evaluate whether a suspect in a           16   A. Well, there's factors -- again, every situation would
17      specific case is fleeing or not?                             17      be different. You would look at the totality of the
18   A. Or had the ability to flee, yes.                             18      circumstances and whether or not the suspect had the
19   Q. Likewise, in your extensive training and experience,         19      ability to flee, number one, and whether or not he was
20      are you able to evaluate whether a suspect presents a        20      actively trying to resist arrest by fleeing.
21      threat to an officer's safety or the safety of anybody       21   Q. Okay.
22      else in the vicinity?                                        22   A. As far as specific training, I don't know that there is
23   A. Based on my review of a video or real scene or real          23      specific training that I could point to that would
24      time a video of what occurred I believe I have the           24      detail that.
25      ability to do that, yes.                                     25   Q. In your training and experience, have you come to know


                                                    Page 132                                                             Page 133
 1        what the difference is between passive resistance and       1                 CERTIFICATE OF NOTARY
 2        active resistance?                                          2
 3   A.    Yes.                                                       3   STATE OF MICHIGAN                  )
 4   Q.    Likewise, have you come to know what it means for a        4                      ) SS
 5        suspect to surrender to police?                             5   COUNTY OF OAKLAND                    )
 6   A.    I do understand what that means, yes.                      6        I, Gina A. Ruggeri, Certified Shorthand Reporter, a
 7   Q.    How about for a suspect to be compliant with police        7   Notary Public in and for the above county and state, do
 8        commands?                                                   8   hereby certify that the above deposition was taken before me
 9   A.    I understand what that means and have experienced it       9   at the time and place hereinbefore set forth; that the
10        throughout my career.                                      10   witness was by me first duly sworn to testify to the truth,
11   Q.    After Koda began to bite Mr. Davis, is it your opinion,   11   and nothing but the truth, that the foregoing questions asked
12        based on all of the evidence that you've reviewed, that    12   and answers made by the witness were duly recorded by me
13        Mr. Davis was compliant?                                   13   stenographically and reduced to computer transcription; that
14   A.    To the extent that he could, yes.                         14   this is a true, full and correct transcript of my
15               MR. STUDENT: Okay. That covers the couple           15   stenographic notes so taken; and that I am not related to,
16        things I wanted to talk about. I don't know if Mr.         16   nor of counsel to either party nor interested in the event of
17        Jones might have some additional follow-up questions.      17   this cause.
18               MR. JONES: I do not. Thank you again, sir.          18
19               MR. STUDENT: I would like to note that the          19
20        witness would like to review and sign the transcript.      20             ___________________________
21               MR. JONES: And I would like to order,               21             Gina A. Ruggeri, CSR 7805
22        electronic copy only.                                      22             Notary Public,
23               MR. STUDENT: I'm good with just electronic          23             Oakland County, Michigan
24        condensed is fine.                                         24   My Commission expires: June 20, 2024.
25               (The deposition was concluded at 2:03 p.m.)         25




                                                                                          34 (Pages 130 to 133)
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                                                                                  Page 1

         A              30:3                   aggressively              97:14
a.m                     act                    90:2                    allow
1:16 4:3                96:11                  ago                     66:3 82:16 83:19
ability                 acted                  84:11 101:21 104:12       91:17 93:10 99:2
38:1 47:14 53:2,5       51:24                    105:3                   103:3
  57:11,13 59:9,12,22   actions                agree                   allowed
  60:3,10 65:19 67:4    50:15,22,23 51:11,22   12:3 22:2,4,12 23:2     90:10 98:24
  67:11,13 69:16 70:1     52:5,13 53:17          26:25 27:6 35:20      allowing
  70:7 71:11,13,15,18   active                   39:16,20,21 49:10     74:2 101:19 103:12
  73:13 76:1,3 77:14    35:24 132:2              54:3 55:20 66:24        103:17
  80:18 84:13 87:11     actively                 77:2 78:20 79:12      alternative
  90:22 96:22 97:14     36:3 131:20              102:17,24             74:13,14 75:24
  98:23 99:16 130:18    activities             agreement               alternatives
  130:25 131:19         13:4 126:15            4:9 127:18              73:10
able                    actual                 ahead                   Alvarez-Mena
5:9 37:25 40:6 43:1,2   33:14 60:6             12:10 13:12 15:5,19     123:5
  43:9,15,17,18,21      add                      41:2 62:23 85:6       amended
  45:24,25 46:5 57:15   74:18 75:14              95:12 103:22 129:4    12:8,21 104:13
  57:18 61:8,11,14      adding                 ahold                   amendment
  62:21 66:18 67:24     90:11                  70:3                    13:9,14,19 14:14,20
  69:10,25 70:22        additional             air                       14:23
  84:21,22 85:15 86:2   7:24 8:21 132:17       62:12                   amount
  86:4 87:20 88:2       addressing             ajones@hansenrey...     14:4 90:23
  100:14 110:9          120:2                  2:15                    and/or
  118:20,23 119:1       adequately             alleged                 36:23 119:9 131:13
  127:3 130:16,20       77:5                   97:3                    Andrew
absolutely              adhere                 Allen                   2:10 4:21
51:5 53:16 54:9         65:7                   1:9 4:23 11:22 12:1,5   anecdotally
  112:3                 administration           12:18 13:8 14:12      101:17 103:4
academy                 113:24                   15:9 23:17 33:2,15    announce
110:23 118:8,12,21      advanced                 36:15 38:10 45:24     35:8
acceptable              116:17                   46:13 48:12,16 53:8   announcement
68:15                   advisements              54:25 55:6,11 56:15   36:17
accepted                77:16,17                 56:17 61:5,6,9 62:4   anonymous
69:5 81:25              affirmative              66:11 67:10,20        25:16
access                  39:12                    69:22 70:17,25 71:8   answer
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